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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                               GREENVILLE DIVISION

IN RE:                                )
                                      )
CAH ACQUISITION COMPANY #7, LLC d/b/a )                       Case No. 19-01298-5-JNC
PRAGUE COMMUNITY HOSPITAL,            )
                                      )                       Chapter 11
         Debtor.                      )
                                      )

       INITIAL APPLICATION BY GRANT THORNTON LLP AS FINANCIAL
       CONSULTANT FOR THE TRUSTEE FOR ALLOWANCE OF INTERIM
     COMPENSATION AND REIMBURSEMENT OF EXPENSES [MARCH 21, 2019
                         THROUGH MAY 31, 2019]

       NOW COMES the firm of Grant Thornton LLP (“GT” or the “Applicant”), financial

consultant for Thomas W. Waldrep, Jr., Trustee in the above-captioned case (the “Trustee”),

pursuant to the provisions of the Bankruptcy Code, hereby makes this report and application to

the Court for approval of consultant's fees and reimbursement of expenses pursuant to §§ 330

and 331 of the Bankruptcy Code, in connection with the services rendered by GT to date in the

course of this Chapter 11 proceeding; and, in support of this application, shows the Court as

follows:

       1.      On March 21, 2019 (the “Petition Date”), CAH Acquisition Company 7, LLC,

d/b/a Prague Community Hospital (the “Debtor”) filed a voluntary petition for relief under

Chapter 11 of the Bankruptcy Code [Dkt. No. 001].

       2.      Concurrently on the Petition Date, the Debtor also filed the Debtor’s Emergency

Motion for and Consent to Appointment of Chapter 11 Trustee [Dkt. No. 005]. On March 29,

2019, the Court entered an Order approving the appointment of the Trustee on an interim basis

[Dkt. No. 28]. The Trustee is the duly appointed, qualified, and acting Trustee of the Chapter 11

estate of the Debtor.




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          3.   This Bankruptcy Court has jurisdiction over this matter pursuant to 28 U.S.C. §§

157 and 1334, and the matter is a core proceeding under 28 U.S.C. § 157(b)(2). Venue is

proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          4.   On April 10, 2019, the Trustee filed a motion requesting authorization to

employ the firm Grant Thornton LLP as financial consultant for the Trustee effective as of

March 21, 2019 [Dkt. No. 038], an amended motion was filed on April 18, 2019 [Dkt. No.

060] and a court order approving the same was entered on May 9, 2019 [Dkt. No. 128].

          5.   Since filing the petition, Grant Thornton LLP has expended hours assisting the

Trustee with both financial consulting and forensic technology services in order to faithfully

fulfill his duties as Trustee. The services rendered by Grant Thornton LLP have been extensive..

          6.   Attached hereto as Exhibit A is a “Summary of Services Rendered” in

connection with this application, which sets forth for the time period described therein a

summary of the professional services rendered by Grant Thornton LLP on behalf of the Trustee

in connection with the administration of this proceeding. This exhibit breaks down services

provided by statement of work, including the Financial Consulting Statement of Work dated

April 2, 2019, and the Forensic Technology Services statement of Work dated April 4, 2019, as

shown in the aforementioned Motions filed April 10, 2019, and April 18, 2019. The summary

sets forth with respect to each timekeeper the name of the individual, the position, the hours,

the total dollar amount incurred, the total dollar amount of voluntary reductions, and the total

dollar amount requested; and sets forth the expenses advanced for which reimbursement is

sought.

          7.   Attached hereto as Exhibit B is the “Detailed Statement of Services Rendered”

by Grant Thornton LLP during the period covered by this application. Exhibit B sets forth




                                                                                                   2
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with respect to such services the date that the services were performed, the timekeeper

involved, the hours charged, the current billing rate, the amount, and a description of the

service provided, or expense incurred. Exhibit B reflects post-petition services rendered by

each professional who provided services during the applicable period, the time spent, and the fee

charged for services, billed at the professional’s hourly rate. Exhibit B also provides a summary

of the expenses incurred by Grant Thornton LLP.

        8.      Members of Grant Thornton LLP have experience in the area of bankruptcy and

corporate reorganization. Attached hereto as Exhibit C is the “Biographical Information” for

each of the professionals involved in providing financial consulting and forensic technology

services for the benefit of the Trustee in connection with this case, setting forth with respect

thereto the name, position in the firm, and professional background.

        9.      This application is submitted under the standard approved by this Bankruptcy

Court and other courts as set forth in § 330 of the Bankruptcy Code and Rule 2016(a) of the

Federal Rules of Bankruptcy Procedure. These standards include a detailed statement of services

rendered; the amounts requested; the times and rates for such services; whether the services were

necessary to the administration of or beneficial at the time at which the service was rendered

toward the completion of the case; whether the services were performed within a reasonable

amount of time commensurate with the complexity, importance, and nature of the problem,

issue, or task addressed; whether the Grant Thornton LLP consultants have demonstrated skill

and experience in the bankruptcy field; and whether the compensation is reasonable based on the

customary compensation charged by comparably skilled practitioners in cases other than cases

under this title.

        10.     All the services for which compensation is requested were performed by or on




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behalf of the Trustee.

       11.     The services performed by GT were services for which the consultant for the

Trustee held the sole responsibility and were not services for which any other party or any person

had responsibility to the exclusion of the Trustee.

       12.     Grant Thornton LLP requests that the Bankruptcy Court allow interim

compensation for services rendered and reimbursement of expenses as set forth in the attached

Exhibits.

       13.     Further, Grant Thornton LLP requests that it be allowed to apply for and receive

interim compensation hereafter every sixty (60) days and at the hourly rates as shown on the

attached Exhibits or as may be subsequently approved by the Bankruptcy Court; that Grant

Thornton LLP be permitted to also apply for reimbursement of expenses billed at the actual costs

incurred; that such applications be filed and served upon the Bankruptcy Administrator and any

other parties in interest no later than the twenty-first (21st) day of the month following the end of

each preceding calendar quarter; that the Clerk provide notice of such applications to all

interested parties and set forth the opportunity for hearing with respect thereto by filing written

objection on or before a date certain, and if no objection is filed, that hearing be waived and the

application submitted to the Bankruptcy Court for approval, with payment to be made by the

Debtor upon receipt of written notice from the Clerk.

       14.     Grant Thornton LLP has incurred post-petition fees in the amount of $82,118.95

and allocated expenses in the amount of $3,123.14, for a total of $85,242.09 for the period set

forth in this application, and these items are detailed on the attached Exhibit B.

       15.     Although Grant Thornton LLP has been compensated for similar items in other

jurisdictions, Grant Thornton LLP understands that the United States Bankruptcy Court’s Eastern




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District of North Carolina typically does not allow reimbursement of certain professional fees or

certain meal-related expenses. Thus, Grant Thornton LLP has deducted these professional fees

and expenses from the total requested amount as voluntary reductions. These deductions, and the

resulting total, are shown in Exhibit A.

       WHEREFORE, Grant Thornton LLP requests that the Bankruptcy Court enter an order

granting the following relief:

       A.      Allowing interim compensation to Grant Thornton LLP as financial consultant for

the Trustee in the amount of $67,973.95 for fees, together with reimbursement of $2,913.74 for

allocated expenses, for a total of $70,887.69 for the period set forth in this application;

       B.      Allowing Grant Thornton LLP to apply for and receive interim compensation

hereafter every sixty (60) days and at the hourly rates as shown on the attached Exhibits, or at

such rates as may be subsequently approved by the Bankruptcy Court; and

       C.      Such other relief as the Court may deem necessary and proper.

       Respectfully submitted, this the 22nd day of July, 2019.



                                        GRANT THORNTON LLP

                                        /s/ Richard R. (Rob) Vanderbeek
                                        Richard R. (Rob) Vanderbeek
                                        Managing Director
                                        Grant Thornton, LLP
                                        757 Third Avenue, Floor 9
                                        New York, NY 10017
                                        Telephone: 212-542-9748
                                        Email: rob.vanderbeek@us.gt.com

                                        Financial Consultant for the Trustee




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                                           Exhibit A

                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             GREENVILLE DIVISION

IN RE:                                )
                                      )
CAH ACQUISITION COMPANY #7, LLC d/b/a )                       Case No. 19-01298-5-JNC
PRAGUE COMMUNITY HOSPITAL,            )
                                      )                       Chapter 11
         Debtor.                      )
                                      )

 SUMMARY OF SERVICES RENDERED / APPLICATION FOR COMPENSATION AND
        REIMBURSEMENT OF EXPENSES BY GRANT THORNTON LLP


       From March 21, 2019 through May 31, 2019, the undersigned firm performed
professional services for the above-named bankruptcy estate in the capacity of the Trustee’s
financial consultant. Attached to this application as Exhibit B is a detailed itemization of time
expended and expenses incurred in the performance of these professional services.
        Time expended by timekeepers is directly allocated by hospital when it relates to a
specific hospital. When time relates to all or several hospitals, it is allocated to the extent
possible across those hospitals. To fairly allocate by hospital the amount of expenses and travel
hours incurred, Grant Thornton LLP calculated, on a weekly basis for each consecutive week
from the Petition Date through May 31, 2019, the percentage of each consultant’s weekly non-
travel hours spent serving the Debtor specifically (“Allocation Percentage”). The expenses and
travel hours incurred were then multiplied by the applicable Allocation Percentage to
determine the allocated amount.




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                                   Summary of All Fees


   Professional Fees Incurred
     Financial Consulting                                             $68,708.00
     Forensic Technology                                               $7,900.00
   Travel Fees Incurred
     Financial Consulting                                              $5,102.85
     Forensic Technology                                                 $408.10
  Total Fees Incurred                                                 $82,118.95
   Voluntary Reductions
     Financial Consulting                                             ($13,790.00)
     Forensic Technology                                                 ($355.00)
  Total Voluntary Fee Reductions                                      ($14,145.00)

  Total Fees Requested                                                $67,973.95


   Expenses Incurred
     Financial Consulting                                              $2,464.22
     Forensic Technology                                                 $658.92
  Total Expenses Incurred                                              $3,123.14
   Voluntary Reductions: Meals
     Financial Consulting                                               ($209.40)
     Forensic Technology                                                   $0.00
  Total Voluntary Expense Reductions                                    ($209.40)

  Total Expenses Requested                                             $2,913.74


   Total Incurred                                                      $85,242.09
   Total Voluntary Reductions                                         ($14,354.40)
  Total Reimbursement Requested                                        $70,887.69




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                          Professional Fees Incurred - Financial Consulting
            NAME                        TITLE                HOURS          RATE       TOTAL
 Davis, Scott Bradford      Partner / Principal                     8.8      $620.00    $5,456.00
 Vanderbeek, Richard R.     Managing Director                      28.1      $620.00   $17,422.00
 Johnson, Andrew H.         Director                               34.8      $500.00   $17,400.00
 Kelly, Holly               Senior Associate                       70.5      $310.00   $21,855.00
 Wayne, Michael             Associate                              16.5      $250.00    $4,125.00
 Balikian, Casey            Associate                               9.8      $250.00    $2,450.00
 Professional Fees Incurred                                       168.5                $68,708.00


                             Travel Fees Incurred - Financial Consulting
                                                                   Weighted
                                                 TRAVEL           Allocation
            NAME                   TITLE         HOURS RATE - 50% Percentage            TOTAL
 Davis, Scott Bradford       Partner / Principal    18.0  $310.00       13.6%             $758.78
 Vanderbeek, Richard R.      Managing Director      25.0  $310.00       22.4%           $1,733.32
 Johnson, Andrew H.          Director               29.5  $250.00       21.3%           $1,573.44
 Kelly, Holly                Senior Associate       38.4  $155.00       17.4%           $1,037.31
 Wayne, Michael              Associate                -   $125.00        0.0%               $0.00
 Balikian, Casey             Associate                -   $125.00        0.0%               $0.00
 Travel Fees Requested                             110.9                                $5,102.85


                           Voluntary Fee Reductions - Financial Consulting
                                                                                        TOTAL
 Interoffice Communications and Meetings                                                ($6,982.00)
 When Team is Involved in Meeting, Most Senior Professional Only                        ($2,457.00)
 Time Incurred Drafting Retention Documents                                             ($2,269.00)
 Other Non-Compensable Tasks                                                            ($2,082.00)
 Voluntary Reductions                                                                  ($13,790.00)


                              Expenses Incurred - Financial Consulting
                      NAME                                      TITLE                   TOTAL
 Davis, Scott Bradford                        Partner / Principal                         $267.38
 Vanderbeek, Richard R.                       Managing Director                           $561.91
 Johnson, Andrew H.                           Director                                    $581.70
 Kelly, Holly                                 Senior Associate                          $1,053.23
 Wayne, Michael                               Associate                                     $0.00
 Balikian, Casey                              Associate                                     $0.00
 Expenses Incurred                                                                      $2,464.22




                                                                                                      8
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                          Professional Fees Incurred - Forensic Technology
            NAME                         TITLE              HOURS          RATE       TOTAL
 Lee, Harry G                Partner / Principal                    2.0     $620.00   $1,240.00
 Aberman, David              Director                               8.1     $500.00   $4,050.00
 Newcomer, Lucas Earl        Manager                                0.1     $450.00      $45.00
 Min, Erik N                 Manager                                5.7     $450.00   $2,565.00
 Professional Fees Incurred                                        15.9               $7,900.00


                             Travel Fees Incurred - Forensic Technology
                                                                       Weighted
                                                 TRAVEL               Allocation
            NAME                  TITLE          HOURS     RATE - 50% Percentage      TOTAL
 Lee, Harry G                Partner / Principal      -       $310.00        0.0%         $0.00
 Aberman, David              Director                3.5      $250.00        2.4%        $21.43
 Newcomer, Lucas Earl        Manager                  -       $225.00        0.0%         $0.00
 Min, Erik N                 Manager                22.7      $225.00        7.6%       $386.67
 Travel Fees Requested                              26.2                                $408.10


                           Voluntary Fee Reductions - Forensic Technology
                                                                                      TOTAL
 Interoffice Communications and Meetings                                               ($231.00)
 When Team is Involved in Meeting, Most Senior Professional Only                          $0.00
 Time Incurred Drafting Retention Documents                                               $0.00
 Other Non-Compensable Tasks                                                           ($124.00)
 Voluntary Reductions                                                                  ($355.00)


                              Expenses Incurred - Forensic Technology
                    NAME                                        TITLE                 TOTAL
 Lee, Harry G                                 Partner / Principal                         $0.00
 Aberman, David                               Director                                  $312.57
 Newcomer, Lucas Earl                         Manager                                     $0.00
 Min, Erik N                                  Manager                                   $346.34
 Expenses Incurred                                                                      $658.92




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         I certify that the information contained in this application is true and accurate and that
 the application complies with the Bankruptcy Court’s Chapter 11 fee guidelines currently in
 effect.

        Respectfully submitted, this the 22nd of July, 2019.

                                       GRANT THORNTON LLP

                                       /s/ Richard R. (Rob) Vanderbeek
                                       Richard R. (Rob) Vanderbeek
                                       Managing Director
                                       Grant Thornton, LLP
                                       757 Third Avenue, Floor 9
                                       New York, NY 10017
                                       Telephone: 212-542-9748
                                       Email: rob.vanderbeek@us.gt.com

                                       Financial Consultant for the Trustee




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                                           Exhibit B

                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             GREENVILLE DIVISION

 IN RE:                                )
                                       )
 CAH ACQUISITION COMPANY #7, LLC d/b/a )                     Case No. 19-01298-5-JNC
 PRAGUE COMMUNITY HOSPITAL,            )
                                       )                     Chapter 11
          Debtor.                      )
                                       )

  DETAILED STATEMENT OF SERVICES RENDERED BY GRANT THORNTON LLP


        Attached hereto is a detailed itemization of time expended and expenses incurred by
 Grant Thornton LLP in the performance of professional services as financial consultant for the
 Trustee.




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                                        Grant Thornton LLP
                                               757 Third Avenue
                                                    Floor 9
                                           New York, New York 10017
                                               Ph: 212-542-9748

RE: Chapter 11 Case of CAH Acquisition Company #7, LLC d/b/a Prague Community Hospital (Case No. 19-01298)

                                  Professional Fees Incurred - Financial Consulting
Name             Date                                  Narrative                           Hours   Rate    Value
Davis, Scott     4/2/19      Discuss Cohesive's proposed management services with T.       0.1     $620.00       $62.00
Bradford                     Waldrep.
Davis, Scott     4/2/19      Discuss case strategy and data retention with T. Waldrep,     0.2     $620.00      $124.00
Bradford                     et al.
Kelly, Holly     4/2/19      Draft retention documents, including statement of work        0.8     $310.00      $248.00
                             and engagement letter.
Kelly, Holly     4/2/19      Prepare summary of hospitals in bankruptcy.                   0.2     $310.00       $62.00
Kelly, Holly     4/2/19      Draft Affidavit of S. Davis and Motion to Employ Grant        0.6     $310.00      $186.00
                             Thornton.
Davis, Scott     4/3/19      Prepare for and participate in planning call with R.          0.1     $620.00       $62.00
Bradford                     Vanderbeek, B. Bonaviri, et al.
Davis, Scott     4/3/19      Prepare for and lead call with GT Team and counsel to         0.1     $620.00       $62.00
Bradford                     address data acquisition.
Kelly, Holly     4/3/19      Draft Affidavit of S. Davis and Motion to Employ Grant        0.6     $310.00      $186.00
                             Thornton.
Kelly, Holly     4/3/19      Draft retention documents, including statement of work        0.7     $310.00      $217.00
                             and engagement letter.
Kelly, Holly     4/3/19      Call with Trustee, Trustee's counsel, and GT team to          0.1     $310.00       $31.00
                             discuss cash management, hospital operational status,
                             potential management companies, financial data, and more.

Kelly, Holly     4/3/19      Discuss critical items and prepare meeting agenda.            0.3     $310.00       $93.00
Vanderbeek,      4/3/19      Discussion re draft agenda and call with Trustee re next      0.3     $620.00      $186.00
Richard R.                   steps.
Davis, Scott     4/4/19      Discuss approach for asset protection and data collection     0.1     $620.00       $62.00
Bradford                     with R. Vanderbeek, T. Waldrep, et al.
Davis, Scott     4/4/19      Review health insurance proposal and discuss with S.          0.1     $620.00       $62.00
Bradford                     Whittle and T. Waldrep.
Davis, Scott     4/4/19      Assess proposed approach to maintaining collections           0.1     $620.00       $62.00
Bradford                     account at US Bank and leave message with T. Waldrep.
Kelly, Holly     4/4/19      Revise engagement letters and Affidavit of S. Davis.          0.4     $310.00      $124.00
Davis, Scott     4/5/19      Discuss management companies and risks with R.                0.1     $620.00       $62.00
Bradford                     Vanderbeek, J. Lee, T. Waldrep, legal team, et al.
Vanderbeek,      4/5/19      Review and respond to emails regarding Cohesive, ACT,         0.1     $620.00       $62.00
Richard R.                   and other items.
Davis, Scott     4/9/19      Review health plan proposal and correspond with S.            0.1     $620.00       $62.00
Bradford                     Whittle.
Kelly, Holly     4/9/19      Call with Affinity Health Partners, Trustee, and counsel      0.2     $310.00       $62.00
                             regarding their experience in critical access hospitals and
                             their interest in running these hospitals.
Kelly, Holly     4/9/19      Call with Affinity Health Partners, Trustee, and counsel      0.2     $310.00       $62.00
                             regarding their experience in critical access hospitals and
                             their interest in running these hospitals.
Kelly, Holly     4/9/19      Draft statement of work, engagement letter, and BAA           0.3     $310.00       $93.00
                             documents for digital forensics team retention.




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                              Professional Fees Incurred - Financial Consulting
Name           Date                                 Narrative                         Hours   Rate    Value
Kelly, Holly   4/9/19    Update summary file for details on current operational       0.1     $310.00       $31.00
                         status, license status, etc.
Kelly, Holly   4/9/19    Draft revised statement of work for financial consulting     0.5     $310.00      $155.00
                         retention.
Vanderbeek,    4/9/19    Participate on call with Trustee and others and Affinity     0.3     $620.00      $186.00
Richard R.               Health regarding potential assessments.
Vanderbeek,    4/9/19    Participate in meetings with Trustee, J. Lyday, and H.       0.3     $620.00      $186.00
Richard R.               Kelly regarding strategy, hospital management agreements,
                         and hospital budgets.
Vanderbeek,    4/9/19    Review Cohesive management services agreement.               0.2     $620.00      $124.00
Richard R.
Davis, Scott   4/10/19   Assess status of on-going hospital operations.               0.1     $620.00       $62.00
Bradford
Davis, Scott   4/10/19   Develop strategy to maximize recoveries and discuss with     0.6     $620.00      $372.00
Bradford                 R. Vanderbeek, H. Kelly, B. Bonaviri, J. Lyday, and J.
                         Lanik.
Kelly, Holly   4/10/19   Finalize retention documents and Motion to Employ Grant      0.7     $310.00      $217.00
                         Thornton.
Vanderbeek,    4/10/19   Discussions with J. Lanik and others regarding iHealthcare   0.4     $620.00      $248.00
Richard R.               data, IRS claims, and other items.
Vanderbeek,    4/10/19   Review materials provided by Cohesive.                       0.3     $620.00      $186.00
Richard R.
Vanderbeek,    4/10/19   Draft and discuss "To-do" lists with GT team.                0.3     $620.00      $186.00
Richard R.
Vanderbeek,    4/10/19   Review cash receipts schedules provided by iHealthcare       0.3     $620.00      $186.00
Richard R.               and send emails regarding same.
Davis, Scott   4/11/19   Lead discussion of proposed approach to resolve case with    0.4     $620.00      $248.00
Bradford                 T. Waldrep, J. Lyday, J. Lanik, R. Vanderbeek, and H.
                         Kelly.
Davis, Scott   4/11/19   Discuss IRS claims with T. Waldrep, F. Morales, J. Lanik,    0.1     $620.00       $62.00
Bradford                 and H. Kelly.
Davis, Scott   4/11/19   Discuss potential recovery actions with F. Terzo and T.      0.1     $620.00       $62.00
Bradford                 Waldrep.
Kelly, Holly   4/11/19   Prepare meeting agenda to discuss and form plan of action    0.3     $310.00       $93.00
                         for immediate and long-term actions under jurisdiction of
                         the Trustee.
Kelly, Holly   4/11/19   Discuss and modify proposed plan with Trustee.               0.1     $310.00       $31.00
Kelly, Holly   4/11/19   Review and discuss proposed plan with Trustee's counsel      0.3     $310.00       $93.00
                         and proposed management companies.
Vanderbeek,    4/11/19   Review litigation memo, proposal, and support regarding      0.3     $620.00      $186.00
Richard R.               these items.
Kelly, Holly   4/12/19   Draft initial iteration of Confidential Information          0.6     $310.00      $186.00
                         Memorandum to present to potential investors.
Vanderbeek,    4/12/19   Review former bankruptcy disclosure, POR, and                0.3     $620.00      $186.00
Richard R.               supporting exhibits.
Davis, Scott   4/12/19   Correspond with Trustee and GT team about approach for       0.6     $620.00      $372.00
Bradford                 and details related to the CIM.
Davis, Scott   4/13/19   Develop draft CIM.                                           0.3     $620.00      $186.00
Bradford
Davis, Scott   4/13/19   Review correspondence regarding potential bidders and        0.1     $620.00       $62.00
Bradford                 discuss with T. Waldrep.
Davis, Scott   4/14/19   Revise draft CIM.                                            0.4     $620.00      $248.00
Bradford
Kelly, Holly   4/14/19   Revise Confidential Information Memorandum with GT           1.3     $310.00      $403.00
                         team's comments and revisions.




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                               Professional Fees Incurred - Financial Consulting
Name              Date                            Narrative                              Hours   Rate    Value
Vanderbeek,       4/14/19   Review and revise CIM for CAH.                               0.4     $620.00      $248.00
Richard R.
Davis, Scott      4/15/19   Update proposed plan and discuss with T. Waldrep, H.         0.5     $620.00      $310.00
Bradford                    Kelly, A. Johnson, et al.
Kelly, Holly      4/15/19   Edit CIM document for bidding procedures and newly           0.3     $310.00       $93.00
                            received financial statements.
Kelly, Holly      4/15/19   Review draft CIM with J. Lyday and T. Waldrep.               0.2     $310.00       $62.00
Kelly, Holly      4/15/19   Analyze financial statements provided by N. Mijares.         0.1     $310.00       $31.00
Kelly, Holly      4/15/19   Call with R. Vanderbeek about upcoming meetings and          0.1     $310.00       $31.00
                            proposed budget.
Wayne, Michael    4/15/19   Review bank statements to understand which periods are       1.2     $250.00      $300.00
                            received and which are still missing.
Vanderbeek,       4/15/19   Call with GT team to discuss work plan, ACT and other        0.3     $620.00      $186.00
Richard R.                  items.
Vanderbeek,       4/15/19   Review financing motion and supporting exhibits filed in     0.3     $620.00      $186.00
Richard R.                  affiliated case.
Johnson, Andrew   4/15/19   Prepare for and call with R. Vanderbeek regarding            0.2     $500.00      $100.00
H.                          workplan.
Johnson, Andrew   4/15/19   Review engagement background information.                    0.4     $500.00      $200.00
H.
Johnson, Andrew   4/15/19   Prepare workplan outline.                                    0.1     $500.00       $50.00
H.
Johnson, Andrew   4/15/19   Meet with S. Davis and Trustee to discuss engagement.        0.2     $500.00      $100.00
H.
Johnson, Andrew   4/15/19   Review confidentiality and non-disclosure agreement for      0.1     $500.00       $50.00
H.                          Trustee.
Johnson, Andrew   4/15/19   Review CIM and prepare comments for GT team.                 0.1     $500.00       $50.00
H.
Kelly, Holly      4/16/19   Update latest version of CIM.                                0.2     $310.00       $62.00
Kelly, Holly      4/16/19   Review documents provided by Affinity Health Partners.       0.1     $310.00       $31.00

Kelly, Holly      4/16/19   Meet with T. Waldrep and J. Lanik to catch up on bank     0.1        $310.00       $31.00
                            statement review and discuss upcoming meeting with First
                            Physicians.
Kelly, Holly      4/16/19   Call with potential management company, First Physicians. 0.2        $310.00       $62.00

Kelly, Holly      4/16/19   Meet with potential management company, Affinity Health 0.5          $310.00      $155.00
                            Partners.
Kelly, Holly      4/16/19   Meet with F. Morales and M. Strong regarding Trustee    0.1          $310.00       $31.00
                            bank account management.
Johnson, Andrew   4/16/19   Review CIM and prepare comments for GT team.            0.4          $500.00      $200.00
H.
Johnson, Andrew   4/16/19   Call with R. Vanderbeek to discuss meetings.                 0.1     $500.00       $50.00
H.
Johnson, Andrew   4/16/19   Speak with F. Morales concerning cash accounts.              0.1     $500.00       $50.00
H.
Johnson, Andrew   4/16/19   Review financial information from Affinity.                  0.1     $500.00       $50.00
H.
Johnson, Andrew   4/16/19   Meet with Affinity concerning Management Services            0.5     $500.00      $250.00
H.                          Agreement.
Johnson, Andrew   4/16/19   Call with First Physicians concerning Management             0.2     $500.00      $100.00
H.                          Services Agreement.
Davis, Scott      4/17/19   Prepare for and meet with Cohesive regarding managing        1.5     $620.00      $930.00
Bradford                    Oklahoma hospitals.
Davis, Scott      4/17/19   Assess Cohesive's ability to manage as compared to others.   0.3     $620.00      $186.00
Bradford



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                                Professional Fees Incurred - Financial Consulting
Name              Date                                Narrative                          Hours   Rate    Value
Davis, Scott      4/17/19   Address and resolve data collection issues with T.           0.1     $620.00       $62.00
Bradford                    Waldrep, J. Lanik, and J. Lee.
Kelly, Holly      4/17/19   Call with S. Davis, R. Vanderbeek, and A. Johnson about      0.1     $310.00       $31.00
                            results of day's meetings with potential management
                            companies and plan going forward.
Kelly, Holly      4/17/19   Review documents provided by Affinity Health Partners in     0.1     $310.00       $31.00
                            shared folder.
Kelly, Holly      4/17/19   Develop methodology for billing across all hospitals,        0.2     $310.00       $62.00
                            including coordinating with GT IT team to set up billing
                            codes by hospital case.
Kelly, Holly      4/17/19   Discuss time and billing procedures with L. Newcomer         0.1     $310.00       $31.00
                            from digital forensics team.
Kelly, Holly      4/17/19   Review revised Attachment A to engagement letter for         0.1     $310.00       $31.00
                            Amended Motion to Employ Grant Thornton.
Vanderbeek,       4/17/19   Participate on call with GT team regarding Cohesive.         0.2     $620.00      $124.00
Richard R.
Johnson, Andrew   4/17/19   Meet with Cohesive regarding MSA.                            0.6     $500.00      $300.00
H.
Johnson, Andrew   4/17/19   Meet with Cohesive regarding MSA.                            0.3     $500.00      $150.00
H.
Johnson, Andrew   4/17/19   Call with R. Vanderbeek, S. Davis, H. Kelly regarding        0.1     $500.00       $50.00
H.                          engagement status update.
Johnson, Andrew   4/17/19   Meet with Trustee regarding Cohesive MSA.                    0.1     $500.00       $50.00
H.
Johnson, Andrew   4/17/19   Discuss Cohesive, First Physicians, Affinity with Trustee,   0.3     $500.00      $150.00
H.                          J. Lyday, and S. Davis.
Davis, Scott      4/18/19   Address and resolve data collection issues with T.           0.1     $620.00       $62.00
Bradford                    Waldrep, J. Lanik, and J. Lee.
Kelly, Holly      4/18/19   Review US bank account transactions and discuss cash         0.2     $310.00       $62.00
                            management with F. Morales, M. Strong, and A. Johnson.

Kelly, Holly      4/18/19   Set up fee application template.                             0.3     $310.00       $93.00
Kelly, Holly      4/18/19   Execute research on AHD on the hospital and comparing 0.1            $310.00       $31.00
                            financial data to that provided by Affinity Health Partners.

Kelly, Holly      4/18/19   Gather supporting documentation to prepare for potential     0.4     $310.00      $124.00
                            testimony.
Johnson, Andrew   4/18/19   Prepare estimated fee analysis for DIP budget.               1.3     $500.00      $650.00
H.
Johnson, Andrew   4/18/19   Call with R. Vanderbeek to discuss engagement status.        0.1     $500.00       $50.00
H.
Johnson, Andrew   4/18/19   Review draft of March monthly statement.                     0.1     $500.00       $50.00
H.
Johnson, Andrew   4/18/19   Call with R. Vanderbeek to discuss MSA analysis for          0.1     $500.00       $50.00
H.                          testimony.
Johnson, Andrew   4/18/19   Review MSA drafts for testimony preparation.                 0.5     $500.00      $250.00
H.
Davis, Scott      4/18/19   Discuss insurance coverage (med mal, property and            0.2     $620.00      $124.00
Bradford                    workers comp) with R. Williams (Truss Advantage).
Vanderbeek,       4/18/19   Calls with A. Johnson re payroll, tax reports and DIP        0.3     $620.00      $186.00
Richard R.                  budget.
Kelly, Holly      4/19/19   Review DIP budget provided by Cohesive.                      0.2     $310.00       $62.00
Kelly, Holly      4/19/19   Review hospitals previously managed by Cohesive in           0.4     $310.00      $124.00
                            preparation for support for testimony.
Vanderbeek,       4/19/19   Discussion and emails with A. Johnson re MSA for             0.2     $620.00      $124.00
Richard R.                  testimony preparation.




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                                Professional Fees Incurred - Financial Consulting
Name              Date                             Narrative                        Hours        Rate    Value
Vanderbeek,       4/19/19   Review summary and detail of DIP estimate from Cohesive 0.3          $620.00      $186.00
Richard R.                  and emails re same.
Johnson, Andrew   4/19/19   Review Cohesive budget for Prague.                      1.8          $500.00      $900.00
H.
Johnson, Andrew   4/19/19   Prepare MSA comparison for testimony preparation.              0.6   $500.00      $300.00
H.
Kelly, Holly      4/19/19   Prepare time and expense codes by hospital and specific        0.1   $310.00       $31.00
                            task for fee application.
Kelly, Holly      4/22/19   Discuss with J. Lyday modifications needed on DIP              0.1   $310.00       $31.00
                            budget/ email to Cohesive.
Kelly, Holly      4/22/19   Discuss with GT team bankruptcy fee application process        0.1   $310.00       $31.00
                            and application across each hospital.
Kelly, Holly      4/22/19   Prepare task codes by hospitals for appropriate time billing   0.2   $310.00       $62.00
                            by hospital.
Kelly, Holly      4/22/19   Prepare for and discuss with C. Balikian process needed to     0.2   $310.00       $62.00
                            track Trustee and legacy bank account activity.
Vanderbeek,       4/22/19   Review advances to Prague.                                     0.2   $620.00      $124.00
Richard R.
Vanderbeek,       4/22/19   Review revised 13 week cash flow budget for Fairfax for        0.6   $620.00      $372.00
Richard R.                  DIP financing.
Johnson, Andrew   4/22/19   Review MSA's to assist with preparation of R. Vanderbeek       0.3   $500.00      $150.00
H.                          testimony.
Johnson, Andrew   4/22/19   Prepare information request to Cohesive regarding pre- and     0.2   $500.00      $100.00
H.                          post-petition funding support.
Johnson, Andrew   4/22/19   Review ACT work plan.                                          0.2   $500.00      $100.00
H.
Davis, Scott      4/23/19   Debrief on data collection, motions, etc., with T. Waldrep, 0.1      $620.00       $62.00
Bradford                    R. Vanderbeek, et al.
Kelly, Holly      4/23/19   Discuss with J. Lyday the cash flow budget for upcoming 0.1          $310.00       $31.00
                            hearing.
Kelly, Holly      4/23/19   Analyze 13-week cash flow budget provided by Cohesive. 0.7           $310.00      $217.00

Kelly, Holly      4/23/19   Discuss with J. Lanik the timing and availability of data      0.1   $310.00       $31.00
                            retrieved in digital forensics data retrieval.
Kelly, Holly      4/23/19   Review Prague DIP budget.                                      1.1   $310.00      $341.00
Kelly, Holly      4/23/19   Discuss with R. Vanderbeek, S. Davis, and A. Johnson           0.1   $310.00       $31.00
                            upcoming testimony.
Kelly, Holly      4/23/19   Meet with T. Waldrep, J. Lyday, J. Lanik, R. Vanderbeek,       0.2   $310.00       $62.00
                            and A. Johnson with updates on the hospital.

Kelly, Holly      4/23/19   Review Prague budget provided by Cohesive.                     0.2   $310.00       $62.00
Kelly, Holly      4/23/19   Prepare estimated fees for professionals and bankruptcy        0.4   $310.00      $124.00
                            administrator to include in cash flow forecasts.
Balikian, Casey   4/23/19   Review SunTrust bank account information and cash flow         0.5   $250.00      $125.00
                            tracking.
Vanderbeek,       4/23/19   Discussion with Trustee, counsel, and GT team re               0.4   $620.00      $248.00
Richard R.                  preparation for hearing.
Vanderbeek,       4/23/19   Prepare for and participate on call with J. Lanik and GT       0.3   $620.00      $186.00
Richard R.                  Forensic team re IT data collection efforts.
Vanderbeek,       4/23/19   Review and discuss questions with A. Johnson re DIP            0.3   $620.00      $186.00
Richard R.                  budget.
Vanderbeek,       4/23/19   Review updated DIP budget for Prague.                          0.6   $620.00      $372.00
Richard R.
Johnson, Andrew   4/23/19   Call with S. Davis to update engagement status.                0.1   $500.00       $50.00
H.




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                               Professional Fees Incurred - Financial Consulting
Name              Date                             Narrative                            Hours   Rate    Value
Johnson, Andrew   4/23/19   Develop general fee budget allocation methodology.          0.3     $500.00      $150.00
H.
Johnson, Andrew   4/23/19   Review Prague 13-week cash flow.                            1.3     $500.00      $650.00
H.
Johnson, Andrew   4/23/19   Meeting with Trustee and J. Lyday concerning Thursday       0.3     $500.00      $150.00
H.                          GT testimony.
Johnson, Andrew   4/23/19   Discuss 13-week cash flow with GT team.                     0.3     $500.00      $150.00
H.
Johnson, Andrew   4/23/19   Prepare questions to Cohesive regarding 13-week cash        0.4     $500.00      $200.00
H.                          flow.
Kelly, Holly      4/23/19   Work with GT IT team to facilitate time entry by hospital   0.2     $310.00       $62.00
                            and task codes for appropriate bankruptcy billing.

Davis, Scott      4/24/19   Discuss work streams.                                       0.1     $620.00       $62.00
Bradford
Davis, Scott      4/24/19   Review insurance coverage and discuss with GT Team.         0.1     $620.00       $62.00
Bradford
Davis, Scott      4/24/19   Review notes on proposed Cohesive agreement and discuss     0.1     $620.00       $62.00
Bradford                    testimony with GT Team.
Kelly, Holly      4/24/19   Call with Cohesive regarding DIP budget.                    0.5     $310.00      $155.00
Kelly, Holly      4/24/19   Prepare items for reporting in DIP budget.                  0.1     $310.00       $31.00
Kelly, Holly      4/24/19   Discuss DIP budget with R. Vanderbeek and A. Johnson.       0.2     $310.00       $62.00

Kelly, Holly      4/24/19   Prepare questions for testimony to support decision to      1.0     $310.00      $310.00
                            retain Cohesive.
Kelly, Holly      4/24/19   Call with S. Davis and GT team to prep for testimony.       0.3     $310.00       $93.00
Kelly, Holly      4/24/19   Review filed DIP motions re Cohesive.                       0.7     $310.00      $217.00
Kelly, Holly      4/24/19   Prepare R. Vanderbeek for testimony with J. Lyday and T.    0.7     $310.00      $217.00
                            Waldrep.
Vanderbeek,       4/24/19   Discussions with S. Davis and GT team re DIP hearing.       0.3     $620.00      $186.00
Richard R.
Vanderbeek,       4/24/19   Call with M. Hand, Cohesive and GT team to discuss DIP      0.6     $620.00      $372.00
Richard R.                  budget.
Vanderbeek,       4/24/19   Review motion to employ Cohesive and supporting             0.7     $620.00      $434.00
Richard R.                  management agreements for Prague.
Vanderbeek,       4/24/19   Review DIP motion and budget for Prague.                    0.8     $620.00      $496.00
Richard R.
Vanderbeek,       4/24/19   Prepare for management agreement and DIP hearing with       0.3     $620.00      $186.00
Richard R.                  Trustee and J. Lyday.
Vanderbeek,       4/24/19   Prepare outline for testimony at hearing re MSA and DIP     0.4     $620.00      $248.00
Richard R.                  motion.
Vanderbeek,       4/24/19   Review 3 week interim budget for Prague.                    0.1     $620.00       $62.00
Richard R.
Johnson, Andrew   4/24/19   Call with S. Davis regarding R. Vanderbeek testimony        0.2     $500.00      $100.00
H.                          preparation.
Johnson, Andrew   4/24/19   Call with Cohesive regarding budget for Prague.             0.5     $500.00      $250.00
H.
Johnson, Andrew   4/24/19   Review insurance claims information.                        0.1     $500.00       $50.00
H.
Johnson, Andrew   4/24/19   Review Prague budget to prepare for testimony.              0.4     $500.00      $200.00
H.
Johnson, Andrew   4/24/19   Review Management Services Agreement to prepare for         0.2     $500.00      $100.00
H.                          testimony.
Johnson, Andrew   4/24/19   Review 3 week budget for testimony.                         0.3     $500.00      $150.00
H.




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                                 Professional Fees Incurred - Financial Consulting
Name              Date                              Narrative                            Hours   Rate    Value
Johnson, Andrew   4/24/19   Review First Physicians DIP Finance proposal for             0.2     $500.00      $100.00
H.                          testimony.
Johnson, Andrew   4/24/19   Review DIP Motion.                                           0.5     $500.00      $250.00
H.
Kelly, Holly      4/25/19   Instruct GT team on time allocation and billing.             0.2     $310.00       $62.00
Kelly, Holly      4/25/19   Follow up on hearing outcomes and assess next steps.         0.2     $310.00       $62.00
Kelly, Holly      4/25/19   Review detail of cash advances provided by Cohesive.         1.0     $310.00      $310.00
Kelly, Holly      4/25/19   Email C. Dolen regarding Prague funding request.             0.1     $310.00       $31.00
Balikian, Casey   4/25/19   Update cash ledger for cash inflows and outflows based on    0.2     $250.00       $50.00
                            support provided.
Vanderbeek,       4/25/19   Review 3 week interim budget and support for Prague.         0.2     $620.00      $124.00
Richard R.
Vanderbeek,       4/25/19   Participate in follow up meetings with Trustee, J. Lyday,    0.3     $620.00      $186.00
Richard R.                  and Cohesive after hearing re Prague.
Vanderbeek,       4/25/19   Attend and provide testimony at the DIP and management       0.8     $620.00      $496.00
Richard R.                  agreement hearing re Prague.
Vanderbeek,       4/25/19   Prepare for testimony with Trustee and J. Lyday related to   0.7     $620.00      $434.00
Richard R.                  Prague.
Johnson, Andrew   4/25/19   Review Prague DIP funding request.                           0.4     $500.00      $200.00
H.
Johnson, Andrew   4/25/19   Review information documenting Cohesive post-petition        0.3     $500.00      $150.00
H.                          funding.
Kelly, Holly      4/26/19   Manage Trustee bank accounts and newly accessed legacy       0.3     $310.00       $93.00
                            bank accounts.
Kelly, Holly      4/26/19   Tie-out backup provided by Cohesive to funding request       2.4     $310.00      $744.00
                            for Prague.
Kelly, Holly      4/26/19   Call with S. Davis, R. Vanderbeek, and A. Johnson            0.1     $310.00       $31.00
                            regarding cash management and funding requests.
Kelly, Holly      4/26/19   Email with J. Lyday regarding Prague DIP funding request.    0.1     $310.00       $31.00

Vanderbeek,       4/26/19   Review Prague advance support for pre and post petition      0.2     $620.00      $124.00
Richard R.                  periods.
Vanderbeek,       4/26/19   Review Prague funding request and analysis of supporting     0.6     $620.00      $372.00
Richard R.                  documents.
Johnson, Andrew   4/26/19   Call with Vanderbeek to discus Prague DIP funding            0.1     $500.00       $50.00
H.                          request.
Johnson, Andrew   4/26/19   Call with GT Team re status report.                          0.2     $500.00      $100.00
H.
Johnson, Andrew   4/26/19   Call with Vanderbeek re recommendation to trustee on         0.1     $500.00       $50.00
H.                          cash controls.
Vanderbeek,       4/29/19   Draft, review, and revise cash funding processes and         0.1     $620.00       $62.00
Richard R.                  controls recommendations.
Vanderbeek,       4/29/19   Participate on bi-weekly call with Trustee re IT issues,     0.3     $620.00      $186.00
Richard R.                  hospital proposals, and other items.
Johnson, Andrew   4/29/19   Review detail of Prague DIP / Funding request.               0.3     $500.00      $150.00
H.
Johnson, Andrew   4/29/19   Bi-weekly update call with T. Waldrep, J. Lyday. J. Lanik, 0.2       $500.00      $100.00
H.                          J. Hendren, R. Redwine, H. Kelly, R. Vanderbeek.

Johnson, Andrew   4/29/19   Call with R. Williams, M. Audo, J. Honn of Truss             0.3     $500.00      $150.00
H.                          Advantage regarding insurance issues; review email from
                            R. Williams re costs and insurance certifications; email and
                            review response from R. Williams re follow-up questions.

Johnson, Andrew   4/29/19   Emails to GT regarding insurance updates.                    0.2     $500.00      $100.00
H.



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                                Professional Fees Incurred - Financial Consulting
Name              Date                               Narrative                            Hours   Rate    Value
Johnson, Andrew   4/29/19   Call with R. Vanderbeek and H. Kelly to discuss insurance,    0.1     $500.00       $50.00
H.                          DIP and funding process.
Johnson, Andrew   4/29/19   Detail review of Interim Management and Hospital              0.6     $500.00      $300.00
H.                          Services Agreement re Prague procedures.
Johnson, Andrew   4/29/19   Call with C. Dolen (Cohesive) re insurance update.            0.2     $500.00      $100.00
H.
Johnson, Andrew   4/29/19   Draft DIP funding procedures memo.                            0.7     $500.00      $350.00
H.
Kelly, Holly      4/29/19   Prepare week's travel expenses for fee application.       0.3         $310.00       $93.00
Kelly, Holly      4/29/19   Participate in bi-weekly call with Trustee and Trustee's  0.2         $310.00       $62.00
                            counsel hospital proposals, funding and borrowing
                            processes, and budgets.
Kelly, Holly      4/29/19   Discuss fee applications with J. Lyday and R. Vanderbeek. 0.3         $310.00       $93.00

Kelly, Holly      4/29/19   Review and address issues with Prague funding requests        1.2     $310.00      $372.00
                            and the required processes for approvals.
Davis, Scott      4/30/19   Discuss cash flow forecasts, insurance coverage, CBO          0.3     $620.00      $186.00
Bradford                    equipment, etc. with R. Vanderbeek, A. Johnson and H.
                            Kelly.
Balikian, Casey   4/30/19   Organize, document, and track invoices received from          0.5     $250.00      $125.00
                            Trustee and iHealthcare.
Vanderbeek,       4/30/19   Revise cash funding and controls recommendations and          0.2     $620.00      $124.00
Richard R.                  forms re same.
Vanderbeek,       4/30/19   Discussions with H. Kelly re implementing funding             0.3     $620.00      $186.00
Richard R.                  processes and controls for hospitals.
Vanderbeek,       4/30/19   Review Prague 4/22 expenses schedule re cash flow budget      0.4     $620.00      $248.00
Richard R.                  and discuss same with H. Kelly.
Johnson, Andrew   4/30/19   E-mails with H. Kelly re Prague funding.                      0.2     $500.00      $100.00
H.
Johnson, Andrew   4/30/19   Review and provide comments on iHealthcare IT proposal. 0.1           $500.00       $50.00
H.
Johnson, Andrew   4/30/19   Call with GT Team re update status.                           0.1     $500.00       $50.00
H.
Johnson, Andrew   4/30/19   Emails to Cohesive regarding trip to work on budgets and      0.1     $500.00       $50.00
H.                          funding processes.
Johnson, Andrew   4/30/19   Prepare DIP Draw wire authorization document and review       0.1     $500.00       $50.00
H.                          cash procedures document.
Johnson, Andrew   4/30/19   Call with C. Dolen (Cohesive) and J. Bendah (Cohesive),       0.3     $500.00      $150.00
H.                          S. Tolson (Tolson Insurance), regarding med malpractice
                            and general liability insurance.
Johnson, Andrew   4/30/19   Review iHealthcare agreement insurance requirements;          0.2     $500.00      $100.00
H.                          email GT team regarding insurance.
Kelly, Holly      4/30/19   Coordinate set-up of two-factor wire authentication process   0.5     $310.00      $155.00
                            for Trustee's bank accounts with SunTrust bank
                            representative and Trustee's counsel.
Kelly, Holly      4/30/19   Review Prague DIP draw funding request and support.           3.9     $310.00    $1,209.00
Kelly, Holly      4/30/19   Discuss Prague funding process with R. Vanderbeek.            0.3     $310.00       $93.00
Kelly, Holly      4/30/19   Draft DIP Loan Draw Request forms to be used in DIP           0.6     $310.00      $186.00
                            loan process.
Kelly, Holly      4/30/19   Revise retention documents with BA's changes.                 0.2     $310.00       $62.00
Kelly, Holly      4/30/19   Work with Trustee's counsel and co-counsel to resolve         0.1     $310.00       $31.00
                            multiple payment issues.
Kelly, Holly      4/30/19   Discuss DIP funding issues for Prague hospital with C.        1.7     $310.00      $527.00
                            Dolen of Cohesive management.




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Kelly, Holly      4/30/19   Call with S. Davis, R. Vanderbeek, and A. Johnson           0.1      $310.00       $31.00
                            regarding prior week's meeting at the Trustee's office with
                            interested party and upcoming trip to hospital.
Davis, Scott      5/1/19    Discuss findings with F. Terzo and G. Freedman.             0.1      $620.00       $62.00
Bradford
Balikian, Casey   5/1/19    Conversation with H. Kelly about key bankruptcy dates.         0.2   $250.00       $50.00
Vanderbeek,       5/1/19    Participate on call with Cohesive, H. Kelly and A. Johnson     0.2   $620.00      $124.00
Richard R.                  re cash flow and payroll tax issues.
Vanderbeek,       5/1/19    Review revised analysis of Prague funding support              1.1   $620.00      $682.00
Richard R.                  schedule and wire forms and support re same.
Vanderbeek,       5/1/19    Review employer tax returns and draft emails re same for       0.3   $620.00      $186.00
Richard R.                  Prague.
Johnson, Andrew   5/1/19    Draft and review emails to and from Cohesive, M Hand           0.4   $500.00      $200.00
H.                          and C. Dolen concerning funding for Prague.
Johnson, Andrew   5/1/19    Developing plan for work with Cohesive regarding 13-           0.3   $500.00      $150.00
H.                          week budgets and funding processes.
Kelly, Holly      5/1/19    Revise retention documents with BA's changes.                  1.0   $310.00      $310.00
Kelly, Holly      5/1/19    Perform cash management duties including updating              0.2   $310.00       $62.00
                            spreadsheet with recent transactions for future reporting on
                            monthly operating report.
Kelly, Holly      5/1/19    Create Prague DIP Draw and wire authorization forms.           0.9   $310.00      $279.00
Kelly, Holly      5/1/19    Call with C. Dolen, A. Johnson, and R. Vanderbeek              0.2   $310.00       $62.00
                            regarding payroll taxes.
Balikian, Casey   5/2/19    Create and review key bankruptcy dates spreadsheet.            0.4   $250.00      $100.00
Vanderbeek,       5/2/19    Participate in meeting with Trustee, J. Lanik, and P.          0.8   $620.00      $496.00
Richard R.                  Nusbaum, S. Whittle and Debtors' counsel.
Vanderbeek,       5/2/19    Participate in follow up and debrief with Trustee and J.       0.1   $620.00       $62.00
Richard R.                  Lanik after initial meeting with P. Nusbaum and S. Whittle.

Johnson, Andrew   5/2/19    Meet and speak with M. Hand and C. Dolen of Cohesive           2.4   $500.00    $1,200.00
H.                          regarding 13-week cash flow, funding process and
                            insurance status.
Johnson, Andrew   5/2/19    Calls and emails with R. Vanderbeek regarding status of 13     0.8   $500.00      $400.00
H.                          week budget and funding process for purposes of updating
                            Trustee and counsel.
Kelly, Holly      5/2/19    Discuss and resolve issues in setting up two-factor            0.4   $310.00      $124.00
                            authentication for wires, including calls with F. Morales,
                            M. Strong, and J. Van Swearingen.
Kelly, Holly      5/2/19    Evaluate Objection to Motion to Employ GT and email GT         0.2   $310.00       $62.00
                            team.
Kelly, Holly      5/2/19    Respond to emails from A. Johnson from questions arising       0.4   $310.00      $124.00
                            during his visit with Cohesive.
Kelly, Holly      5/2/19    Speak to Cohesive management about the transfer of             0.4   $310.00      $124.00
                            Prague pre-petition funds.
Kelly, Holly      5/2/19    Coordinate wire transfer for Prague DIP Draw.                  0.5   $310.00      $155.00
Kelly, Holly      5/2/19    Update cash management spreadsheet with recent                 0.4   $310.00      $124.00
                            transactions.
Kelly, Holly      5/2/19    Gather Trustee's bank accounts statements for J. Gorman        0.1   $310.00       $31.00
                            for monthly operating report.
Kelly, Holly      5/2/19    Email exchanges with C. Dolen regarding Prague wire            0.3   $310.00       $93.00
                            status.
Davis, Scott      5/3/19    Discuss hearing, reopening, fact-finding meeting, etc. with    0.1   $620.00       $62.00
Bradford                    T. Waldrep, et al.
Balikian, Casey   5/3/19    Update cash ledger for cash inflows and outflows based on      0.2   $250.00       $50.00
                            support provided.




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                               Professional Fees Incurred - Financial Consulting
Name              Date                              Narrative                         Hours    Rate    Value
Vanderbeek,       5/3/19   Participate on call with GT team and counsel re insurance, 0.1      $620.00       $62.00
Richard R.                 management contracts, budgets and other items.

Vanderbeek,       5/3/19   Review Prague wires requests, funding schedules and        1.4      $620.00      $868.00
Richard R.                 supporting invoices and emails re same.
Vanderbeek,       5/3/19   Discussions with H. Kelly re Prague funding process, wires 0.7      $620.00      $434.00
Richard R.                 and support.
Johnson, Andrew   5/3/19   Draft and review emails and phone calls with Cohesive, M. 0.7       $500.00      $350.00
H.                         Hand and C. Dolen regarding funding requirements and 13-
                           week budget support.
Johnson, Andrew   5/3/19   Bi-weekly update call with GT Team and Trustee's           0.2      $500.00      $100.00
H.                         Counsel.
Kelly, Holly      5/3/19   Obtain Trustee approval of Prague's DIP Draw.              0.2      $310.00       $62.00
Kelly, Holly      5/3/19   Analyze Prague funding request.                            2.2      $310.00      $682.00
Kelly, Holly      5/3/19   Discuss Prague funding process, wires and support with R. 0.7       $310.00      $217.00
                           Vanderbeek.
Kelly, Holly      5/3/19   Participate in bi-weekly call with Trustee and Trustee's   0.1      $310.00       $31.00
                           counsel discussing outstanding current and outstanding
                           issues.
Kelly, Holly      5/3/19   Update Prague finance forms for DIP draw and Wire          1.2      $310.00      $372.00
                           authorization for new wiring instructions and financial
                           institution.
Davis, Scott      5/6/19   Address payroll tax issues and discuss with R. Vanderbeek, 0.1      $620.00       $62.00
Bradford                   A. Johnson, and J. Hendren.
Davis, Scott      5/6/19   Address retention issues and discuss with R. Vanderbeek 0.1         $620.00       $62.00
Bradford                   and BA.
Davis, Scott      5/6/19   Analyze potential litigation against equity holders.       0.1      $620.00       $62.00
Bradford
Balikian, Casey   5/6/19   Reconciling budget request to weekly approved cash flow. 3.0        $250.00      $750.00

Vanderbeek,       5/6/19   Review HAC master insurance policies re PL and WC and         0.4   $620.00      $248.00
Richard R.                 loss runs re same.
Vanderbeek,       5/6/19   Review funding request and support for Prague interim 3       0.7   $620.00      $434.00
Richard R.                 week period.
Johnson, Andrew   5/6/19   Call with R. Vanderbeek to discuss plans for this week        0.1   $500.00       $50.00
H.                         including workers comp insurance; payroll taxes, and
                           budget.
Johnson, Andrew   5/6/19   Call with D. DeNeal, counsel for professional liability       0.1   $500.00       $50.00
H.                         insurer and J. Hendren to discuss professional liability
                           insurance issues.
Johnson, Andrew   5/6/19   Bi-weekly update call with GT team and J. Hendren.            0.1   $500.00       $50.00
H.
Johnson, Andrew   5/6/19   Review 13-week budgets and funding requests in           0.5        $500.00      $250.00
H.                         connection with DIP funding needs; emails to and from M.
                           Hand regarding 13-week budget and assumptions included.

Johnson, Andrew   5/6/19   Call and emails with Cohesive regarding workers' comp         0.1   $500.00       $50.00
H.                         insurance.
Balikian, Casey   5/7/19   Update cash ledger for new transfers and new accounts.        0.2   $250.00       $50.00
Vanderbeek,       5/7/19   Meeting and follow up call with ACT, Trustee, counsel and     0.8   $620.00      $496.00
Richard R.                 GT re accounting and cost reports.
Vanderbeek,       5/7/19   Participate in funding request discussions for Prague / DIP   0.7   $620.00      $434.00
Richard R.                 Budget with H. Kelly and A. Johnson.
Vanderbeek,       5/7/19   Review and revise DIP budget for Prague.                      1.0   $620.00      $620.00
Richard R.




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                                Professional Fees Incurred - Financial Consulting
Name              Date                               Narrative                          Hours   Rate    Value
Vanderbeek,       5/7/19   Participate on calls with Cohesive regarding DIP budget      0.5     $620.00      $310.00
Richard R.                 questions.
Johnson, Andrew   5/7/19   Call with M. Hand and C. Dolen of Cohesive and R.            0.3     $500.00      $150.00
H.                         Vanderbeek, H. Kelly regarding 13-week cash forecasts.
Johnson, Andrew   5/7/19   Review and analyze 13-week cash forecast with regard to      1.0     $500.00      $500.00
H.                         changes from prior 13-week forecast.
Johnson, Andrew   5/7/19   Meet with Trustee and J. Lyday, J. Lanik, H. Kelly, R.       1.1     $500.00      $550.00
H.                         Vanderbeek, ACT (J. Hunt, J. Raley, and G. Gibbs)
                           regarding employment of ACT and planning for use of
                           ACT.
Johnson, Andrew   5/7/19   Call with Trustee, R. Vanderbeek, J. Lanik, J. Lyday,        0.3     $500.00      $150.00
H.                         Cohesive (M. Hand and C. Dolen) and ACT (J. Hunt, J.
                           Raley and G. Gibbs) regarding ACT employment.
Johnson, Andrew   5/7/19   Review and analyze 13-week cash forecast and discuss         1.3     $500.00      $650.00
H.                         with R. Vanderbeek to prepare for testimony.
Kelly, Holly      5/7/19   Analyze Prague weekly funding request.                       2.8     $310.00      $868.00
Kelly, Holly      5/7/19   Prepare R. Vanderbeek for testimony with the Trustee.        0.2     $310.00       $62.00
Kelly, Holly      5/7/19   Meeting at Trustee's office with ACT accounting firm and     1.1     $310.00      $341.00
                           Trustee regarding accounting and cost reports.
Kelly, Holly      5/7/19   Call with C. Dolen and M. Hand of Cohesive to discuss 13-    0.3     $310.00       $93.00
                           week cash forecasts.
Kelly, Holly      5/7/19   Call with ACT, Trustee, Trustee's Counsel, C. Dolen and      0.3     $310.00       $93.00
                           M. Hand of Cohesive regarding ACT employment.
Kelly, Holly      5/7/19   Review 13-week cash flow forecast and discuss with R.        0.2     $310.00       $62.00
                           Vanderbeek in preparation for testimony.
Vanderbeek,       5/8/19   Participate in court hearing regarding cash flow budget      0.5     $620.00      $310.00
Richard R.                 testimony.
Vanderbeek,       5/8/19   Prepare for court hearing regarding cash flow budgets and    0.6     $620.00      $372.00
Richard R.                 correspond with A. Johnson re same.
Johnson, Andrew   5/8/19   Speak with H. Kelly and review funding requests for          0.1     $500.00       $50.00
H.                         approval.
Johnson, Andrew   5/8/19   Calls and emails to and from M. Hand regarding budgets.      0.5     $500.00      $250.00
H.
Johnson, Andrew   5/8/19   Prepare final changes to 13-week budgets analyzing           0.5     $500.00      $250.00
H.                         changes from prior versions.
Johnson, Andrew   5/8/19   Emails to and from R. Vanderbeek and M. Hand regarding       1.3     $500.00      $650.00
H.                         13-week budget and analysis of same to assist with
                           preparation for testimony.
Kelly, Holly      5/8/19   Review documents and financial data provided by J.           0.6     $310.00      $186.00
                           Upenieks.
Kelly, Holly      5/8/19   Perform various bank management duties including             0.3     $310.00       $93.00
                           recording recent transactions for use in monthly operating
                           report.
Kelly, Holly      5/8/19   Respond to inquiries on budget items from R. Vanderbeek      0.2     $310.00       $62.00
                           in preparation for testimony.
Kelly, Holly      5/8/19   Analyze funding request, coordinate Trustee approval and     0.8     $310.00      $248.00
                           wire transfer.
Kelly, Holly      5/8/19   Discuss access to hospital's local bank account(s) with J.   0.1     $310.00       $31.00
                           Van Swearingen.
Davis, Scott      5/9/19   Discuss insurance coverage and use of bank accounts with     0.1     $620.00       $62.00
Bradford                   T. Waldrep, J. Lyday, and H. Kelly.
Davis, Scott      5/9/19   Discuss using bank statements as primary forensics source    0.1     $620.00       $62.00
Bradford                   for phase 1 of investigation.
Davis, Scott      5/9/19   Discuss lab scheme with T. Waldrep, F. Terzo, G.             0.4     $620.00      $248.00
Bradford                   Freedman, and H. Kelly.




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                                 Professional Fees Incurred - Financial Consulting
Name              Date                                Narrative                           Hours   Rate    Value
Johnson, Andrew   5/9/19    Emails to and from Cohesive regarding workers' comp           0.1     $500.00       $50.00
H.                          insurance.
Kelly, Holly      5/9/19    Discuss meeting with F. Terzo with Trustee and S. Davis       0.1     $310.00       $31.00
                            and using bank statements as source for preliminary look at
                            potential recovery.
Kelly, Holly      5/9/19    Meet with F. Terzo, G. Freedman, T. Waldrep, and S.           0.5     $310.00      $155.00
                            Davis to discuss lab scheme and it's application to
                            hospital(s).
Kelly, Holly      5/9/19    Coordinate and discuss with J. Van Swearingen the             0.4     $310.00      $124.00
                            accumulating of financial data provided by J. Upenieks.
Kelly, Holly      5/9/19    Review and analyze particular data provided by J.             0.1     $310.00       $31.00
                            Upenieks, and email to GT Team about findings.
Davis, Scott      5/10/19   Discuss forensic strategy re lab scheme with R.               0.1     $620.00       $62.00
Bradford                    Vanderbeek, A. Johnson, and H. Kelly and approaches to
                            recover funds.
Vanderbeek,       5/10/19   Call with S. Davis, H. Kelly and A. Johnson re meeting        0.3     $620.00      $186.00
Richard R.                  with F. Terzo and review notes re same.
Vanderbeek,       5/10/19   Review and respond to emails re wires, insurance, fee         0.2     $620.00      $124.00
Richard R.                  applications, 5500's and other items.
Johnson, Andrew   5/10/19   Review Lab Agreement for Prague and follow-up with            0.2     $500.00      $100.00
H.                          Cohesive regarding how reflected in budget.
Johnson, Andrew   5/10/19   Emails to and from Cohesive regarding professional            0.2     $500.00      $100.00
H.                          liability insurance; follow-up with Cohesive regarding
                            workers comp insurance to obtain information for bi-
                            weekly team update.
Kelly, Holly      5/10/19   Compile and consolidate notes on meeting with F. Terzo        0.1     $310.00       $31.00
                            for team update call.
Kelly, Holly      5/10/19   Call with S. Davis, R. Vanderbeek, and A. Johnson to          0.1     $310.00       $31.00
                            discuss information gathered in meeting with F. Terzo and
                            a proposed strategy to recover funds.
Kelly, Holly      5/10/19   Plan and initiate bank statement inventorization with team    0.7     $310.00      $217.00
                            including set up of spreadsheet to accommodate breadth of
                            bank statements received from various sources.

Kelly, Holly      5/10/19   Prepare for and participate in bi-weekly call with Trustee,   0.1     $310.00       $31.00
                            Trustee's counsel, and GT team.
Kelly, Holly      5/10/19   Discuss with SunTrust treasury management personnel to        0.1     $310.00       $31.00
                            resolve ongoing wire set-up issues.
Davis, Scott      5/13/19   Participate in bi-weekly call with Trustee, Trustee's         0.1     $620.00       $62.00
Bradford                    counsel, and GT team.
Wayne, Michael    5/13/19   Review and organize bank statements.                          1.1     $250.00      $275.00
Vanderbeek,       5/13/19   Emails with team re cost reports, insurance, Cohesive         0.5     $620.00      $310.00
Richard R.                  funding requests, wire protocol, AR, IT and 5500 issues.

Johnson, Andrew   5/13/19   Emails to and from Cohesive regarding funding process.        0.1     $500.00       $50.00
H.
Kelly, Holly      5/13/19   Email to M. Strong to initiate Prague DIP wire.               0.2     $310.00       $62.00
Kelly, Holly      5/13/19   Update documentation for Prague DIP Draw.                     0.2     $310.00       $62.00
Kelly, Holly      5/13/19   Emails to Cohesive regarding funding status.                  0.2     $310.00       $62.00
Kelly, Holly      5/13/19   Review and send emails to team regarding status of            0.2     $310.00       $62.00
                            funding at each hospital managed by Cohesive.
Wayne, Michael    5/14/19   Organize and sorted files for consistency and analysis.       3.0     $250.00      $750.00
Balikian, Casey   5/14/19   Update cash ledger for cash inflows and outflows based on     0.3     $250.00       $75.00
                            support provided.
Johnson, Andrew   5/14/19   Emails to and from Cohesive regarding workers comp and        0.1     $500.00       $50.00
H.                          professional liability insurance.




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                                Professional Fees Incurred - Financial Consulting
Name              Date                               Narrative                              Hours   Rate    Value
Johnson, Andrew   5/14/19   Call with J. Upenieks, S. Whittle, R. Vanderbeek, H. Kelly      0.2     $500.00      $100.00
H.                          regarding Empower benefits plans; emails to all regarding
                            additional information.
Kelly, Holly      5/14/19   Call and emails with J. Upenieks, A. Johnson, and R.            0.2     $310.00       $62.00
                            Vanderbeek regarding prior management benefit plans.
Davis, Scott      5/15/19   Draft questions for Trustee's consideration at the 341          0.3     $620.00      $186.00
Bradford                    hearing.
Kelly, Holly      5/15/19   Review and analyze funding request.                             2.1     $310.00      $651.00
Balikian, Casey   5/16/19   Update cash ledger for cash inflows and outflows based on       0.1     $250.00       $25.00
                            support provided.
Vanderbeek,       5/16/19   Emails re bank issues, invoices, MOR, dropbox, GTR and          0.2     $620.00      $124.00
Richard R.                  other items.
Johnson, Andrew   5/16/19   Emails to and from GT team regarding cash issues.               0.1     $500.00       $50.00
H.
Johnson, Andrew   5/16/19   Call with R. Vanderbeek discussing cash issues.                 0.1     $500.00       $50.00
H.
Kelly, Holly      5/16/19   Communicate and coordinate with Trustee's counsel to set        0.2     $310.00       $62.00
                            up data site for J. Upenieks to upload documents regarding
                            benefits plans.
Kelly, Holly      5/16/19   Compile and send bank statements to Trustee's counsel for       0.4     $310.00      $124.00
                            monthly operating report.
Kelly, Holly      5/16/19   Finalize funding request review, prepare DIP draw and           0.4     $310.00      $124.00
                            wire authorization forms and obtain Trustee approval.
Wayne, Michael    5/17/19   Cross-reference bank statements to identify duplicates, sort    1.1     $250.00      $275.00
                            for consistency, and analyze.
Kelly, Holly      5/17/19   Finalize Prague funding and review and approve wire             1.1     $310.00      $341.00
                            transfer.
Kelly, Holly      5/17/19   Provide further information to J. Gorman on bank                0.1     $310.00       $31.00
                            statements.
Davis, Scott      5/20/19   Participate in bi-weekly call with the Trustee, the Trustee's   0.1     $620.00       $62.00
Bradford                    counsel, and the GT team.
Kelly, Holly      5/20/19   Evaluate documents provided by Cohesive in request for          0.6     $310.00      $186.00
                            payments and communicate with Trustee re: same.
Kelly, Holly      5/20/19   Discuss with Trustee's counsel follow-up questions on fee       0.1     $310.00       $31.00
                            applications.
Kelly, Holly      5/20/19   Discuss with M. Wayne status of bank statement                  0.2     $310.00       $62.00
                            inventorization and answer various questions.
Kelly, Holly      5/20/19   Prepare for and participate in bi-weekly call with Trustee,     0.1     $310.00       $31.00
                            Trustee's counsel, and GT team.
Kelly, Holly      5/20/19   Reschedule meetings and calls due to upcoming holiday.          0.1     $310.00       $31.00

Kelly, Holly      5/20/19   Follow-up through email with Cohesive on various                0.6     $310.00      $186.00
                            financial matters.
Wayne, Michael    5/20/19   Prepare bank statement summary document, noting which           1.1     $250.00      $275.00
                            statements were received.
Johnson, Andrew   5/20/19   Weekly update call with Trustee, GT, and Counsel.               0.1     $500.00       $50.00
H.
Kelly, Holly      5/21/19   Review final inventory of bank statements and provide           0.5     $310.00      $155.00
                            final database to Trustee's counsel for cross-checking.
Wayne, Michael    5/21/19   Add annual totals to summary document.                          1.0     $250.00      $250.00
Vanderbeek,       5/21/19   Review cost report for Prague.                                  0.4     $620.00      $248.00
Richard R.
Kelly, Holly      5/22/19   Calls with C. Balikian to discuss funding request.              0.2     $310.00       $62.00
Kelly, Holly      5/22/19   Finalize funding request review, prepare DIP draw and           1.3     $310.00      $403.00
                            wire authorization forms and obtain Trustee approval.




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                                Professional Fees Incurred - Financial Consulting
Name              Date                                Narrative                           Hours   Rate    Value
Wayne, Michael    5/22/19   Edit fee applications to ensure proper grammar, format,       1.2     $250.00      $300.00
                            and structure.
Balikian, Casey   5/22/19   Review Prague 5.20.19 funding request.                        1.5     $250.00      $375.00
Vanderbeek,       5/22/19   Review weekly funding emails and support for Prague.          0.3     $620.00      $186.00
Richard R.
Johnson, Andrew   5/22/19   Call with J. Lyday and R. Vanderbeek regarding                0.1     $500.00       $50.00
H.                          employee's inquiries regarding 401k plans.
Kelly, Holly      5/23/19   Discuss with C Balikian regarding updates on cash             0.2     $310.00       $62.00
                            management tracker.
Kelly, Holly      5/23/19   Calls with J. Van Swearingen regarding hospital associated    0.1     $310.00       $31.00
                            clinics.
Kelly, Holly      5/23/19   Receive benefit information from J. Upenieks, organize,       0.2     $310.00       $62.00
                            and share with GT team.
Vanderbeek,       5/23/19   Emails re: benefit information, payroll, CHMS and CMS         0.2     $620.00      $124.00
Richard R.                  payment timing.
Johnson, Andrew   5/23/19   Meeting with J. Upenieks regarding history of entities,       0.9     $500.00      $450.00
H.                          financial systems, cash flow structure, benefit plans,
                            operating results.
Johnson, Andrew   5/23/19   Document meeting with J. Upenieks and emails to trustee       0.1     $500.00       $50.00
H.                          counsel and R. Vanderbeek regarding same.
Kelly, Holly      5/24/19   Review Trustee's agenda and participate in bi-weekly call     0.6     $310.00      $186.00
                            with Trustee, Trustee's counsel, and GT team.
Kelly, Holly      5/24/19   Finalize Prague weekly funding and review and approve         1.0     $310.00      $310.00
                            wire transfer.
Kelly, Holly      5/24/19   Calls with C. Balikian to discuss Prague funding to budget    0.4     $310.00      $124.00
                            reconciliation.
Kelly, Holly      5/24/19   Review Prague funding reconciliation.                         1.0     $310.00      $310.00
Kelly, Holly      5/24/19   Prepare and discuss items for bi-weekly call with counsel     0.5     $310.00      $155.00
                            with R. Vanderbeek .
Balikian, Casey   5/24/19   Reconcile all approved weekly DIP funding with court-         1.5     $250.00      $375.00
                            approved budgets.
Vanderbeek,       5/24/19   Review and respond to emails re 13 week cash flow             0.1     $620.00       $62.00
Richard R.                  forecasts, staffing and payroll issues.
Vanderbeek,       5/24/19   Prepare for and participate on call with Trustee and others   0.3     $620.00      $186.00
Richard R.                  re weekly update.
Johnson, Andrew   5/24/19   Weekly update call with GT and counsel.                       0.1     $500.00       $50.00
H.
Johnson, Andrew   5/24/19   Discussions with J. Upenieks regarding historic operations    1.2     $500.00      $600.00
H.                          of hospital.
Kelly, Holly      5/28/19   Discuss funding request review process with M. Wayne.         0.8     $310.00      $248.00
Kelly, Holly      5/28/19   Review Prague funding request.                                0.9     $310.00      $279.00
Kelly, Holly      5/28/19   Evaluate feasibility of paying administrative expenses        0.7     $310.00      $217.00
                            incurred by Trustee's co-counsel and email Trustee's
                            counsel with concerns.
Wayne, Michael    5/28/19   Prepare 13-week budget to show budget vs actual amount        3.7     $250.00      $925.00
                            for the historical period.
Wayne, Michael    5/28/19   Call with H. Kelly to discuss Prague budget.                  0.4     $250.00      $100.00
Balikian, Casey   5/28/19   Update account ledger document to analyze cash available      0.2     $250.00       $50.00
                            to each hospital.
Vanderbeek,       5/28/19   Update call with GT team.                                     0.1     $620.00       $62.00
Richard R.
Kelly, Holly      5/29/19   Discuss Prague funding request with M. Wayne.                 0.9     $310.00      $279.00
Kelly, Holly      5/29/19   Participate in bi-weekly call with Trustee, Trustee's         0.2     $310.00       $62.00
                            counsel, and GT team.




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                                 Professional Fees Incurred - Financial Consulting
Name              Date                                Narrative                         Hours   Rate    Value
Wayne, Michael    5/29/19   Finalize funding request for week beginning 5.27.19 and     2.7     $250.00      $675.00
                            draft DIP Loan Draw Request and Wire Transfer
                            Authorization Form.
Balikian, Casey   5/29/19   Review and summarize Interim Management Agreement           0.7     $250.00      $175.00
                            for engagement team's comprehension.
Vanderbeek,       5/29/19   Participate on call with Trustee and counsel and H. Kelly   0.3     $620.00      $186.00
Richard R.                  re weekly update.
Johnson, Andrew   5/29/19   Call with J. Walzer of TRA regarding 401k plan.             0.1     $500.00       $50.00
H.
Kelly, Holly      5/30/19   Email to Cohesive to detail information needs on receipts   0.5     $310.00      $155.00
                            and disbursements.
Kelly, Holly      5/30/19   Discuss payment issue with F. Morales and M. Strong on      0.1     $310.00       $31.00
                            paying vendor out of Trustee accounts.
Kelly, Holly      5/30/19   Discuss Prague budget with R. Vanderbeek.                   0.4     $310.00      $124.00
Kelly, Holly      5/30/19   Finalize funding request review, prepare DIP draw and       0.5     $310.00      $155.00
                            wire authorization forms and obtain Trustee approval.
Vanderbeek,       5/30/19   Discuss with H. Kelly re: Prague cash flow and funding      0.4     $620.00      $248.00
Richard R.                  request.
Vanderbeek,       5/30/19   Review updated master CAH schedules.                        0.1     $620.00       $62.00
Richard R.
Kelly, Holly      5/31/19   Email to Cohesive with timing updates on timing of       0.5        $310.00      $155.00
                            funding.
Balikian, Casey   5/31/19   Update account ledger document to analyze cash available 0.3        $250.00       $75.00
                            to each hospital.
                            Total Professional Fees Incurred                                              $68,708.00




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                                     Travel Fees Incurred - Financial Consulting
                                                                                            Allocation Allocated
Name              Date                Narrative             Hours   Rate - 50% Value        Percentage Travel
Davis, Scott      4/7/19    Travel - Charlotte to Tulsa.    5.1          $310.00  $1,581.00       13.6%   $215.59
Bradford
Kelly, Holly      4/8/19    Travel to Trustee's office.     4.7         $155.00     $728.50       7.0%     $51.04
Vanderbeek,       4/8/19    Travel from Morristown, NJ      3.0         $310.00     $930.00       9.7%     $90.32
Richard R.                  to Winston-Salem, NC.
Davis, Scott      4/10/19   Travel to and from Winston      4.0         $310.00    $1,240.00     13.6%    $169.09
Bradford                    Salem.
Kelly, Holly      4/11/19   Travel from Trustee's office    4.8         $155.00     $744.00       7.0%     $52.13
                            to home.
Vanderbeek,       4/11/19   Travel from Winston-Salem,      2.0         $310.00     $620.00       9.7%     $60.22
Richard R.                  NC to Morristown, NJ.
Davis, Scott      4/14/19   Travel to and from Winston      3.5         $310.00    $1,085.00     14.5%    $157.17
Bradford                    Salem.
Davis, Scott      4/15/19   Drive to Winston Salem.         1.8         $310.00     $558.00      14.5%     $80.83
Bradford
Kelly, Holly      4/15/19   Travel to Trustee's office.     4.1         $155.00     $635.50      12.0%     $76.15
Johnson, Andrew   4/15/19   Travel from Charlotte to        1.7         $250.00     $425.00      17.4%     $73.91
H.                          Waldrep Law Offices.
Johnson, Andrew   4/17/19   Travel from Winston-Salem       1.6         $250.00     $400.00      17.4%     $69.57
H.                          to Charlotte.
Johnson, Andrew   4/18/19   Travel from Charlotte to        1.6         $250.00     $400.00      17.4%     $69.57
H.                          Winston-Salem.
Kelly, Holly      4/19/19   Travel from Trustee's office    4.9         $155.00     $759.50      12.0%     $91.01
                            to home.
Johnson, Andrew   4/19/19   Travel from Winston-Salem       2.0         $250.00     $500.00      17.4%     $86.96
H.                          to Charlotte.
Kelly, Holly      4/22/19   Travel to Trustee's office.     4.6         $155.00     $713.00      29.7%    $212.07
Johnson, Andrew   4/22/19   Travel from Charlotte to        1.6         $250.00     $400.00      22.0%     $88.18
H.                          Winston-Salem.
Vanderbeek,       4/23/19   Travel from Morristown NJ to    3.0         $310.00     $930.00      32.2%    $299.31
Richard R.                  Winston Salem NC.
Kelly, Holly      4/25/19   Travel from Trustee's office    5.2         $155.00     $806.00      29.7%    $239.73
                            to home.
Vanderbeek,       4/25/19   Travel time from Winston        4.0         $310.00    $1,240.00     32.2%    $399.08
Richard R.                  Salem to Raleigh courthouse
                            to Raleigh Airport to
                            Morristown NJ.
Johnson, Andrew 4/25/19     Travel from Winston-Salem       1.7         $250.00     $425.00      22.0%     $93.69
H.                          to Charlotte.
Vanderbeek,     5/1/19      Travel from NYC to Winston      3.0         $310.00     $930.00      22.6%    $210.57
Richard R.                  Salem NC.
Johnson, Andrew 5/1/19      Travel from Charlotte to        5.0         $250.00    $1,250.00     28.1%    $350.66
H.                          Oklahoma City for meetings
                            with Cohesive Healthcare.
Vanderbeek,     5/3/19      Travel from Greensboro          3.0         $310.00     $930.00      22.6%    $210.57
Richard R.                  Airport to Morristown, NJ.
Johnson, Andrew 5/3/19      Travel from site visit at       5.0         $250.00    $1,250.00     28.1%    $350.66
H.                          Cohesive Management,
                            Oklahoma City, to Charlotte.
Vanderbeek,     5/6/19      Travel from NYC office to       3.0         $310.00     $930.00      21.3%    $198.54
Richard R.                  Winston-Salem, NC.
Johnson, Andrew 5/6/19      Travel to Trustee's office in   1.7         $250.00     $425.00      20.7%     $87.93
H.                          Winston Salem, NC.
Kelly, Holly    5/6/19      Travel to Trustee's office in   5.1         $155.00     $790.50      20.1%    $159.15
                            Winston Salem, NC.



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                                  Travel Fees Incurred - Financial Consulting
                                                                                          Allocation Allocated
Name            Date                Narrative             Hours   Rate - 50% Value        Percentage Travel
Vanderbeek,     5/8/19    Travel from Winston Salem,      4.0          $310.00  $1,240.00       21.3%   $264.72
Richard R.                NC to Greenville to Raleigh
                          Airport to Newark Airport to
                          Morristown, NJ.
Johnson, Andrew 5/8/19    Travel from Winston-Salem       1.7         $250.00     $425.00      20.7%     $87.93
H.                        to Charlotte.
Davis, Scott    5/9/19    Travel to and from Winston-     3.6         $310.00    $1,116.00     12.2%    $136.10
Bradford                  Salem to discuss funding exit
                          strategy.
Kelly, Holly    5/9/19    Travel to Winston Salem, NC.    5.0         $155.00     $775.00      20.1%    $156.03

Johnson, Andrew 5/22/19   Travel from Philadelphia to 3.0             $250.00     $750.00      14.5%    $109.01
H.                        Kansas City.
Johnson, Andrew 5/24/19   Travel from Kansas City to  2.6             $250.00     $650.00      14.5%     $94.48
H.                        Charlotte.
Johnson, Andrew 5/24/19   Travel from Kansas City to  0.3             $250.00      $75.00      14.5%     $10.90
H.                        Charlotte.
                          Total Travel Fees Incurred                                                   $5,102.85




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                                        Expenses Incurred - Financial Consulting

                                                                                               Allocation     Allocated
Category      Name         Date               Narrative          Quantity  Rate      Value     Percentage     Expenses
Air Travel    Davis, Scott 4/7/19    Airfare to meet with                  $1,409.54 $1,409.54          13.6%  $192.21
              Bradford               Cohesive management.
Air Travel    Kelly, Holly 4/8/19    Airfare to the Trustee's                $212.70 $212.70             7.0%    $14.90
                                     office.
Hotels        Davis, Scott 4/8/19    Hotel to meet with                      $127.89 $127.89            13.6%    $17.44
              Bradford               Cohesive management.
Meals         Davis, Scott 4/8/19    Meals during Cohesive                    $25.24    $25.24          13.6%     $3.44
              Bradford               management meetings.
Air Travel    Kelly, Holly 4/8/19    Airfare ticket exchange                  $21.00    $21.00           7.0%     $1.47
                                     fee.
Ground Travel Kelly, Holly 4/8/19    Car transportation to the                $48.86    $48.86           7.0%     $3.42
                                     airport.
Meals         Kelly, Holly 4/8/19    Dinner for R. Vanderbeek                 $91.50    $91.50           7.0%     $6.41
                                     and H. Kelly while
                                     traveling to meet with the
                                     Trustee.
Meals         Kelly, Holly 4/8/19    Breakfast while traveling                $12.90    $12.90           7.0%     $0.90
                                     to meet with the Trustee.
Meals         Vanderbeek, 4/8/19     Breakfast while traveling                 $7.40     $7.40           9.7%     $0.72
              Richard R.             to meet with the Trustee.
Meals         Vanderbeek, 4/8/19     Lunch while traveling to                  $8.25     $8.25           9.7%     $0.80
              Richard R.             meet with the Trustee.
Meals         Kelly, Holly 4/9/19    Breakfast while traveling                 $8.79     $8.79           7.0%     $0.62
                                     to meet with the Trustee.
Meals         Kelly, Holly 4/9/19    Dinner for R. Vanderbeek                 $74.00    $74.00           7.0%     $5.18
                                     and H. Kelly while
                                     traveling to meet with the
                                     Trustee.
Meals         Kelly, Holly 4/9/19    Lunch while traveling to                 $13.90    $13.90           7.0%     $0.97
                                     meet with the Trustee.
Mileage       Davis, Scott 4/10/19   Mileage to attend client        163.9     $0.58    $95.05          13.6%    $12.96
              Bradford               meetings.
Meals         Kelly, Holly 4/10/19   Dinner for R. Vanderbeek                $100.00 $100.00             7.0%     $7.01
                                     and H. Kelly while
                                     traveling to meet with the
                                     Trustee.
Air Travel    Vanderbeek, 4/11/19    Airfare to the Trustee's                $546.59 $546.59             9.7%    $53.09
              Richard R.             office.
Air Travel    Kelly, Holly 4/11/19   Airfare home from the                   $195.30 $195.30             7.0%    $13.68
                                     Trustee's office.
Mileage       Davis, Scott 4/11/19   Mileage to attend client        163.9     $0.58    $95.05          13.6%    $12.96
              Bradford               meetings.
Meals         Kelly, Holly 4/11/19   Breakfast while traveling                 $4.90     $4.90           7.0%     $0.34
                                     to meet with the Trustee.
Ground Travel Kelly, Holly 4/11/19   Car rental during trip to               $220.74 $220.74             7.0%    $15.47
                                     Winston-Salem.
Hotels        Kelly, Holly 4/11/19   Hotel during trip to                    $549.10 $549.10             7.0%    $38.47
                                     Winston-Salem.
Meals         Vanderbeek, 4/11/19    Breakfast while traveling                 $8.11     $8.11           9.7%     $0.79
              Richard R.             to meet with the Trustee.
Ground Travel Kelly, Holly 4/12/19   Car transportation home                  $44.60    $44.60           7.0%     $3.12
                                     from the airport.
Ground Travel Vanderbeek, 4/12/19    Transportation to the hotel              $37.65    $37.65           9.7%     $3.66
              Richard R.             from the airport.
Hotels        Vanderbeek, 4/12/19    Hotel during trip to North              $549.10 $549.10             9.7%    $53.33
              Richard R.             Carolina.




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                                        Expenses Incurred - Financial Consulting

                                                                                              Allocation     Allocated
Category        Name         Date             Narrative        Quantity   Rate      Value     Percentage     Expenses
Air Travel      Kelly, Holly 4/15/19 Airfare to the Trustee's              $414.55 $414.55             12.0%    $49.67
                                     office.
Meals           Davis, Scott 4/15/19 Dinner for S. Davis, R.               $100.76 $100.76             14.5%    $14.60
                Bradford             Vanderbeek, and A.
                                     Johnson.
Mileage         Davis, Scott 4/15/19 Mileage to attend client        80.8     $0.58    $46.89          14.5%     $6.79
                Bradford             meetings.
Mileage         Johnson,     4/15/19 Mileage to attend client        73.9     $0.58    $42.84          17.4%     $7.45
                Andrew H.            meetings.
Ground Travel   Kelly, Holly 4/15/19 Transportation to the                  $48.04     $48.04          12.0%     $5.76
                                     airport.
Meals           Kelly, Holly 4/15/19 Breakfast while traveling              $10.38     $10.38          12.0%     $1.24
                                     to meet with the Trustee.
Meals           Kelly, Holly 4/15/19 Lunch while traveling to               $12.67     $12.67          12.0%     $1.52
                                     meet with the Trustee.
Meals           Kelly, Holly 4/16/19 Lunch while traveling to               $11.23     $11.23          12.0%     $1.35
                                     meet with the Trustee.
Mileage         Davis, Scott 4/17/19 Mileage to attend Trustee       83.0     $0.58    $48.15          14.5%     $6.98
                Bradford             meetings.
Mileage         Johnson,     4/17/19 Mileage to attend Trustee       73.5     $0.58    $42.62          17.4%     $7.41
                Andrew H.            meetings.
Meals           Kelly, Holly 4/17/19 Breakfast while traveling                $7.86     $7.86          12.0%     $0.94
                                     to meet with the Trustee.
Meals           Kelly, Holly 4/17/19 Dinner while traveling to              $21.25     $21.25          12.0%     $2.55
                                     meet with the Trustee.
Mileage         Johnson,     4/18/19 Mileage to attend Trustee       73.9     $0.58    $42.84          17.4%     $7.45
                Andrew H.            meetings.
Meals           Kelly, Holly 4/18/19 Breakfast while traveling              $10.46     $10.46          12.0%     $1.25
                                     to meet with the Trustee.
Meals           Kelly, Holly 4/18/19 Dinner while traveling to              $17.84     $17.84          12.0%     $2.14
                                     meet with the Trustee.
Air Travel      Kelly, Holly 4/19/19 Airfare home from the                 $342.81 $342.81             12.0%    $41.08
                                     Trustee's office.
Mileage         Johnson,     4/19/19 Mileage to attend Trustee       73.5     $0.58    $42.62          17.4%     $7.41
                Andrew H.            meetings.
Ground Travel   Kelly, Holly 4/19/19 Car rental for Trustee                $261.67 $261.67             12.0%    $31.35
                                     meetings.
Hotels          Kelly, Holly 4/19/19 Hotel for Trustee                     $446.49 $446.49             12.0%    $53.50
                                     meetings.
Meals           Kelly, Holly 4/19/19 Dinner while traveling to              $17.40     $17.40          12.0%     $2.08
                                     meet with the Trustee.
Ground Travel   Kelly, Holly 4/19/19 Transportation home from               $48.54     $48.54          12.0%     $5.82
                                     the airport.
Meals           Kelly, Holly 4/19/19 Lunch while traveling to               $12.36     $12.36          12.0%     $1.48
                                     meet with the Trustee.
Air Travel      Kelly, Holly 4/22/19 Airfare to the Trustee's              $342.81 $342.81             29.7%  $101.96
                                     office.
Meals           Johnson,     4/22/19 Dinner for H. Kelly and                $46.00     $46.00          22.0%    $10.14
                Andrew H.            A. Johnson during travel
                                     to Trustee's office.
Mileage         Johnson,     4/22/19 Mileage to attend Trustee       73.9     $0.58    $42.84          22.0%     $9.44
                Andrew H.            meetings.
Meals           Johnson,     4/22/19 Breakfast while traveling                $7.46     $7.46          22.0%     $1.64
                Andrew H.            to Trustee's office.
Ground Travel   Kelly, Holly 4/22/19 Transportation to the                  $45.40     $45.40          29.7%    $13.50
                                     airport.




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                                        Expenses Incurred - Financial Consulting

                                                                                                Allocation     Allocated
Category       Name         Date            Narrative           Quantity     Rate     Value     Percentage     Expenses
Meals          Kelly, Holly 4/22/19 Lunch while traveling to                   $17.29    $17.29          29.7%     $5.14
                                    meet with the Trustee.
Meals          Kelly, Holly 4/22/19 Breakfast while traveling                   $8.47     $8.47         29.7%      $2.52
                                    to meet with the Trustee.
Meals          Johnson,     4/23/19 Lunch while traveling to                   $13.66    $13.66         22.0%      $3.01
               Andrew H.            meet with the Trustee.
Meals          Kelly, Holly 4/23/19 Dinner for A. Johnson and                  $80.00    $80.00         29.7%     $23.79
                                    H. Kelly while traveling to
                                    meet with the Trustee.

Meals         Kelly, Holly 4/23/19 Lunch while traveling to                    $13.59    $13.59         29.7%      $4.04
                                   meet with the Trustee.
Meals         Kelly, Holly 4/23/19 Breakfast while traveling                   $12.41    $12.41         29.7%      $3.69
                                   to meet with the Trustee.
Meals         Vanderbeek, 4/23/19 Breakfast while traveling                     $7.40     $7.40         32.2%      $2.38
              Richard R.           to meet with the Trustee.
Air Travel    Vanderbeek, 4/23/19 Airfare to the Trustee's                    $469.13   $469.13         32.2%   $150.98
              Richard R.           office.
Meals         Johnson,     4/24/19 Lunch while traveling to                    $18.44    $18.44         22.0%      $4.07
              Andrew H.            meet with the Trustee.
Meals         Johnson,     4/24/19 Dinner for A. Johnson, R.                  $121.41   $121.41         22.0%     $26.76
              Andrew H.            Vanderbeek, and H. Kelly
                                   while traveling to meet
                                   with the Trustee.
Meals         Kelly, Holly 4/24/19 Breakfast while traveling                   $23.05    $23.05         29.7%      $6.86
                                   to meet with the Trustee.
Ground Travel Vanderbeek, 4/24/19 Transportation home from                     $35.89    $35.89         32.2%     $11.55
              Richard R.           the airport.
Air Travel    Vanderbeek, 4/25/19 Airfare to the Trustee's                    $220.70   $220.70         32.2%     $71.03
              Richard R.           office.
Air Travel    Kelly, Holly 4/25/19 Airfare home from the                      $277.45   $277.45         29.7%     $82.52
                                   Trustee's office.
Meals         Johnson,     4/25/19 Lunch while traveling to                    $13.66    $13.66         22.0%      $3.01
              Andrew H.            meet with the Trustee.
Mileage       Johnson,     4/25/19 Mileage to attend Trustee          73.5      $0.58    $42.62         22.0%      $9.40
              Andrew H.            meetings.
Meals         Kelly, Holly 4/25/19 Breakfast while traveling                   $23.88    $23.88         29.7%      $7.10
                                   to meet with the Trustee.
Meals         Kelly, Holly 4/25/19 Lunch and dinner                            $44.15    $44.15         29.7%     $13.13
                                   purchased together while
                                   traveling to meet with the
                                   Trustee.
Ground Travel Kelly, Holly 4/25/19 Car rental during client                   $403.90   $403.90         29.7%   $120.13
                                   visit.
Hotels        Kelly, Holly 4/25/19 Hotel for Trustee                          $284.13   $284.13         29.7%     $84.51
                                   meetings.
Hotels        Johnson,     4/25/19 Hotel to meet with the                     $385.62   $385.62         22.0%     $85.01
              Andrew H.            Trustee.
Ground Travel Kelly, Holly 4/26/19 Transportation home from                    $42.21    $42.21         29.7%     $12.55
                                   the airport.
Air Travel    Johnson,     5/1/19 Airfare to meet with                        $774.10   $774.10         28.1%   $217.16
              Andrew H.            Cohesive management.
Air Travel    Vanderbeek, 5/1/19 Airfare to meet with the                     $496.23   $496.23         22.6%   $112.35
              Richard R.           Trustee.




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                                        Expenses Incurred - Financial Consulting

                                                                                                Allocation     Allocated
Category      Name          Date              Narrative         Quantity     Rate     Value     Percentage     Expenses
Air Travel    Johnson,      5/1/19   Baggage fee while                         $30.00    $30.00          28.1%     $8.42
              Andrew H.              traveling to meet with
                                     Cohesive Healthcare.
Meals         Johnson,      5/1/19   Dinner while traveling to                 $31.24    $31.24         28.1%      $8.76
              Andrew H.              meet with Cohesive.
Meals         Johnson,      5/2/19   Lunch while traveling to                  $20.50    $20.50         28.1%      $5.75
              Andrew H.              meet with Cohesive.
Meals         Johnson,      5/2/19   Dinner while traveling to                 $23.23    $23.23         28.1%      $6.52
              Andrew H.              meet with Cohesive.
Ground Travel Vanderbeek,   5/2/19   Transportation from                       $18.83    $18.83         22.6%      $4.26
              Richard R.             Trustee meetings to hotel.

Ground Travel Vanderbeek, 5/2/19     Transportation from                       $15.00    $15.00         22.6%      $3.40
              Richard R.             Trustee meetings to hotel.

Hotels        Vanderbeek, 5/2/19     Hotel for Trustee                        $134.17   $134.17         22.6%     $30.38
              Richard R.             meetings.
Meals         Vanderbeek, 5/2/19     Dinner while traveling to                 $12.79    $12.79         22.6%      $2.90
              Richard R.             meet with the Trustee.
Ground Travel Vanderbeek, 5/2/19     Transportation from hotel                  $9.35     $9.35         22.6%      $2.12
              Richard R.             to Trustee meetings.

Ground Travel Johnson,      5/3/19   Car rental fuel while                     $12.06    $12.06         28.1%      $3.38
              Andrew H.              traveling to meet with
                                     Cohesive Healthcare.
Ground Travel Johnson,      5/3/19   Parking while traveling to                $30.00    $30.00         28.1%      $8.42
              Andrew H.              meet with Cohesive
                                     Healthcare.
Ground Travel Johnson,      5/3/19   Car rental while traveling                $93.05    $93.05         28.1%     $26.10
              Andrew H.              to meet with Cohesive
                                     Healthcare.
Air Travel    Johnson,      5/3/19   Baggage fee while                         $30.00    $30.00         28.1%      $8.42
              Andrew H.              traveling to meet with
                                     Cohesive Healthcare.
Meals         Johnson,      5/3/19   Lunch while traveling to                  $18.33    $18.33         28.1%      $5.14
              Andrew H.              meet with Cohesive.
Hotels        Johnson,      5/3/19   Hotel while traveling to                 $270.72   $270.72         28.1%     $75.94
              Andrew H.              meet with Cohesive
                                     Healthcare.
Meals         Johnson,    5/3/19     Dinner while traveling to                 $28.82    $28.82         28.1%      $8.08
              Andrew H.              meet with Cohesive.
Hotels        Vanderbeek, 5/3/19     Hotel while traveling to                 $145.45   $145.45         22.6%     $32.93
              Richard R.             meet with Cohesive
                                     Healthcare.
Ground Travel Vanderbeek, 5/3/19     Transportation from hotel                 $35.15    $35.15         22.6%      $7.96
              Richard R.             to meetings with Cohesive
                                     Healthcare.
Ground Travel Vanderbeek, 5/4/19     Transportation home from                  $44.40    $44.40         22.6%     $10.05
              Richard R.             the airport.
Mileage       Johnson,    5/6/19     Mileage related to visit         73.8      $0.58    $42.83         20.7%      $8.86
              Andrew H.              with Cohesive Healthcare.

Meals         Johnson,     5/6/19    Lunch while traveling to                   $7.46     $7.46         20.7%      $1.54
              Andrew H.              meet with the Trustee.
Air Travel    Kelly, Holly 5/6/19    Flight to Trustee's Office.              $434.26   $434.26         20.1%     $87.43




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                                        Expenses Incurred - Financial Consulting

                                                                                               Allocation     Allocated
Category       Name         Date             Narrative          Quantity   Rate      Value     Percentage     Expenses
Meals          Kelly, Holly 5/6/19   Breakfast during travel to                $6.98     $6.98          20.1%     $1.41
                                     Trustee's office.
Ground Travel Vanderbeek, 5/7/19     Transportation from hotel               $33.91     $33.91          21.3%     $7.24
              Richard R.             to meetings with Cohesive
                                     Healthcare.
Meals          Kelly, Holly 5/7/19   Dinner for H. Kelly and                $100.00 $100.00             20.1%    $20.13
                                     A. Johnson during travel
                                     to Trustee's office.
Mileage        Johnson,     5/8/19   Mileage related to visit         58.3     $0.58    $33.80          20.7%     $6.99
               Andrew H.             with Cohesive Healthcare.

Meals          Kelly, Holly 5/8/19 Breakfast during travel to                $12.52    $12.52         20.1%      $2.52
                                   Trustee's office.
Meals         Kelly, Holly 5/8/19 Dinner during travel to                    $24.90    $24.90         20.1%      $5.01
                                   Trustee's office.
Meals         Kelly, Holly 5/8/19 Lunch during travel to                     $12.76    $12.76         20.1%      $2.57
                                   Trustee's office.
Meals         Kelly, Holly 5/9/19 Dinner during travel to                    $15.53    $15.53         20.1%      $3.13
                                   Trustee's office.
Ground Travel Kelly, Holly 5/9/19 Rental car during travel to               $155.89   $155.89         20.1%     $31.38
                                   Trustee's office.
Hotels        Kelly, Holly 5/9/19 Hotel during stay in North                $361.92   $361.92         20.1%     $72.86
                                   Carolina.
Air Travel    Kelly, Holly 5/12/19 Flight home from                         $237.00   $237.00         11.4%     $26.95
                                   Trustee's office.
Ground Travel Kelly, Holly 5/12/19 Transportation home from                  $40.83    $40.83         11.4%      $4.64
                                   airport.
                                   Total Expenses Incurred                                                    $2,464.22




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                               Professional Fees Incurred - Forensic Technology
Name             Date                                Narrative                            Hours   Rate    Value
Lee, Harry G     4/2/19    Calls with counsel and client re: gathering infrastructure     0.2     $620.00      $124.00
                           details and discussing evidence-preservation steps.
Aberman, David   4/3/19    Conduct multiple conversations with counsel and client;        0.1     $500.00       $50.00
                           Work with client to determine additional infrastructure
                           details; Talk to case team to setup preservation; Attempt
                           setup remote collection.
Aberman, David   4/5/19    Conduct multiple conversations with counsel and client;        0.1     $500.00       $50.00
                           Work with client to determine additional infrastructure
                           details; Talk to case team to setup preservation; Attempt
                           setup remote collection.
Aberman, David   4/15/19   Review documentation provided by client; Create summary        0.2     $500.00      $100.00
                           of equipment located in Service Order document for review
                           by J. Lee; Correspond with J. Lee regarding next steps.

Lee, Harry G     4/15/19   Research and corresondence with counsel, client, and third- 0.3        $620.00      $186.00
                           party IT provider re: KC data center forensic collections.

Aberman, David   4/16/19   Conduct conference call with counsel and third-party IT        0.1     $500.00       $50.00
                           company to discuss collection, point of contact, etc; Follow
                           up regarding those communications with counsel and
                           internal case team.
Lee, Harry G     4/16/19   Calls with J. Lanik; correspondence with engagement team       0.2     $620.00      $124.00
                           and counsel re: Kansas City collections.
Aberman, David   4/17/19   Conduct multiple calls with counsel and attempt to speak to    0.1     $500.00       $50.00
                           outsourced IT provider.
Newcomer, Lucas 4/17/19    Assess engagement progress and resolve outstanding             0.1     $450.00       $45.00
Earl                       questions from the team.
Aberman, David 4/18/19     Conduct multiple conversations with counsel and client;        0.4     $500.00      $200.00
                           Work with client to determine additional infrastructure
                           details; Talk to case team to setup preservation; Attempt
                           setup remote collection.
Lee, Harry G     4/18/19   Calls with J. Lanik; correspondence with engagement team       0.1     $620.00       $62.00
                           re: Kansas City on-site collections for SmarterEmail,
                           Exchange, Centralized Billing file share, and regular file
                           share for hospitals.
Aberman, David   4/19/19   Conduct multiple calls with client to schedule Monday          0.2     $500.00      $100.00
                           visit; Work with team with regard to specific collection
                           types.
Aberman, David   4/22/19   Conduct multiple calls with both J. Lanik and B. Fletcher.     1.5     $500.00      $750.00
                           Work with B. Fletcher on-site in Kansas City to perform
                           collection of SmarterEmail, Exchange, Centralized Billing
                           file share, and regular file share for hospitals.

Lee, Harry G     4/22/19   Conduct briefings with Forensic Technology Services team       0.1     $620.00       $62.00
                           in the field regarding forensic collection activity.
Min, Erik N      4/22/19   Perform on-site collections.                                   1.2     $450.00      $540.00
Aberman, David   4/23/19   Work with case team on collection in progress in Kansas        0.4     $500.00      $200.00
                           City; Provide status updates to counsel regarding collection
                           activity; Conduct call regarding progress as well as issues
                           that arose during collection.
Lee, Harry G     4/23/19   Conduct conference call with counsel; Manage and               0.1     $620.00       $62.00
                           coordinate engagement.
Min, Erik N      4/23/19   Perform on-site collections.                                   1.1     $450.00      $495.00
Min, Erik N      4/24/19   Perform on-site collections.                                   0.8     $450.00      $360.00
Lee, Harry G     4/26/19   Conduct conference call with counsel; Manage and               0.2     $620.00      $124.00
                           coordinate engagement.




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                                Professional Fees Incurred - Forensic Technology
Name             Date                               Narrative                            Hours   Rate    Value
Min, Erik N      4/26/19   Review email correspondence regarding engagement;             0.3     $450.00      $135.00
                           Correspond with client regarding new location for
                           collection; Coordinate on-site to KC for remote data
                           collection.
Lee, Harry G     4/28/19   Conduct conference call with counsel; Manage and              0.1     $620.00       $62.00
                           coordinate engagement.
Lee, Harry G     4/28/19   Conduct conference call with counsel; Manage and              0.1     $620.00       $62.00
                           coordinate engagement.
Aberman, David   5/3/19    Conduct multiple discussions with case team, Cohesive         0.6     $500.00      $300.00
                           team, and J. Lanik regarding on-site collection.
Lee, Harry G     5/3/19    Discuss engagement with project lead; Manage and              0.1     $620.00       $62.00
                           coordinate engagement.
Min, Erik N      5/3/19    Conduct conference call with Cohesive discussing forensic     0.4     $450.00      $180.00
                           collection; Correspond with engagement team.
Aberman, David   5/7/19    Conduct multiple discussions regarding Kansas City data       0.1     $500.00       $50.00
                           center and what systems are in play within the various
                           hospitals outside of email and server shares.
Min, Erik N      5/7/19    Conference call with J. Lanik regarding CPSI and Next         0.2     $450.00       $90.00
                           Gen systems, remote access, and CBO workstations;
                           Discuss plans with engagement team and review
                           correspsondence.
Aberman, David   5/8/19    Conduct discussions about upcoming collection of server       0.1     $500.00       $50.00
                           data.
Aberman, David   5/8/19    Conduct call with J. Lanik regarding Kansas City systems      0.1     $500.00       $50.00
                           for the hospitals.
Min, Erik N      5/8/19    Conference call with J. Lanik, B. Fletcher. and Cohesive      0.4     $450.00      $180.00
                           regarding CPSI and Next Gen systems, remote access,
                           CBO workstations; Discuss plans with engagement team
                           and review correspondence; Correspond with B. Fletcher
                           regarding COC documentation.
Aberman, David   5/9/19    Conduct discussion regarding the CPSI, NextGen, and           0.1     $500.00       $50.00
                           other systems to discuss back-end setup.
Aberman, David   5/10/19   Conduct discussions regarding the CBO computers;              0.2     $500.00      $100.00
                           Analyze inventory provided by B. Fletcher; Update team
                           regarding previous inventory of CBO computers; Conduct
                           case team discussions.
Min, Erik N      5/10/19   Review CBO workstation inventory and correspondence           0.3     $450.00      $135.00
                           with B. Fletcher; Review engagement team
                           correspondence.
Aberman, David   5/13/19   Conduct correspondence with counsel and case team             0.1     $500.00       $50.00
                           regarding upcoming site visit and B. Fletcher's updates.
Lee, Harry G     5/13/19   Manage and coordinate engagement.                             0.1     $620.00       $62.00
Aberman, David   5/14/19   Conduct multiple correspondence with counsel regarding        0.2     $500.00      $100.00
                           updated information regarding litigation hold and issues
                           requiring additional inquiries of logs.
Aberman, David   5/15/19   Setup upcoming visit and discussions regarding availability   0.1     $500.00       $50.00
                           of B. Fletcher.
Aberman, David   5/22/19   Conduct multiple correspondence with counsel and B.           0.1     $500.00       $50.00
                           Fletcher regarding data center and storage facility.
Lee, Harry G     5/22/19   Manage and coordinate engagement.                             0.1     $620.00       $62.00
Aberman, David   5/23/19   Work with B. Fletcher to determine devices within the         1.9     $500.00      $950.00
                           storage facility; Work with B. Fletcher to identify units
                           within the two storage cabinets at the data center; Work
                           with B. Fletcher to remove.
Aberman, David   5/24/19   Conduct correspondence to obtain access to VPN; Update        0.3     $500.00      $150.00
                           counsel on status of preservation.




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                               Professional Fees Incurred - Forensic Technology
Name             Date                              Narrative                         Hours    Rate    Value
Lee, Harry G     5/24/19   Discuss engagement with project lead; Manage and          0.1      $620.00       $62.00
                           coordinate engagement.
Aberman, David   5/28/19   Correspond with J. Lanik regarding next steps; Correspond 0.2      $500.00      $100.00
                           with OnPar regarding logs and setup for meeting; Work
                           with case team on current and upcoming collections.

Lee, Harry G     5/28/19   Conduct detailed discussions with engagement lead;           0.1   $620.00       $62.00
                           Review IT developments; Perform planning and logistics;
                           Manage and coordinate engagement.
Min, Erik N      5/28/19   Correspond with engagement team.                             0.1   $450.00       $45.00
Aberman, David   5/29/19   Correspond with OnPar; Review various logs provided          0.3   $500.00      $150.00
                           relating to O365.
Min, Erik N      5/29/19   Conduct OnPar conference call; Review calls with             0.3   $450.00      $135.00
                           engagement team; Authenticate and test O365 and Datto
                           account access.
Aberman, David   5/30/19   Conduct discussions with case team and J. Lanik regarding    0.1   $500.00       $50.00
                           overall collection and backups.
Aberman, David   5/30/19   Conduct call with Cohesive regarding server collection for   0.3   $500.00      $150.00
                           Prague.
Lee, Harry G     5/30/19   Conduct status discussions; Manage and coordinate            0.1   $620.00       $62.00
                           engagement.
Min, Erik N      5/30/19   Conduct conference call with C. Peter of Cohesive; Review    0.2   $450.00       $90.00
                           of Datto system.
Aberman, David   5/31/19   Conduct call with OnPar regarding backups, email; Spoke      0.2   $500.00      $100.00
                           to J. Lanik regarding update; Conduct internal calls
                           regarding servers and CBO and machines at storage
                           facility.
Min, Erik N      5/31/19   Conduct conference call with OnPar regarding Datto           0.4   $450.00      $180.00
                           backups and O365 environment; Create inventory of Datto
                           backups; Correspond with engagement team.
                           Total Professional Fees Incurred                                              $7,900.00




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                                    Travel Fees Incurred - Forensic Technology
                                                                                           Allocation Allocated
Name             Date                 Narrative            Hours   Rate - 50% Value        Percentage Travel
Min, Erik N      4/21/19   Travel to Kansas City for on-   4.9          $225.00  $1,102.50       14.3%   $157.50
                           site collection.
Min, Erik N      4/24/19   Travel from Houston to          4.9         $225.00    $1,102.50     14.3%    $157.50
                           Kansas City for on-site data
                           collection.
Aberman, David   4/29/19   Travel to Plymouth, North       3.5         $250.00     $875.00       2.4%     $21.43
                           Carolina to perform on-site
                           imaging of server data; Work
                           with counsel and IT to setup
                           collection.
Min, Erik N      4/29/19   Travel time from Houston to     5.2         $225.00    $1,170.00      2.5%     $28.89
                           Kansas City.
Min, Erik N      5/1/19    Travel to and from I-70,        5.1         $225.00    $1,147.50      2.5%     $28.33
                           Kansas City, and Houston.
Min, Erik N      5/1/19    Travel from Kansas City to      2.6         $225.00     $585.00       2.5%     $14.44
                           Houston.
                           Total Travel Fees Incurred                                                    $408.10




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                                        Expenses Incurred - Forensic Technology

                                                                                           Allocation     Allocated
Category       Name        Date              Narrative         Quantity   Rate    Value    Percentage     Expenses
Air Travel     Min, Erik N 4/21/19 Airfare to perform onsite               $362.96 $362.96          14.3%    $51.85
                                   meetings at various
                                   hospitals.
Technology     Min, Erik N 4/21/19 Technology rental for                   $140.70   $140.70       14.3%     $20.10
Equipment                          onsite meetings at various
                                   hospitals.
Technology     Min, Erik N 4/21/19 Technology rental for                   $140.70   $140.70       14.3%     $20.10
Equipment                          onsite meetings at various
                                   hospitals.
Air Travel     Aberman,    4/21/19 Airfare booking fee for                  $21.00    $21.00       10.9%      $2.28
               David               flight to Kansas City.
Air Travel     Aberman,    4/21/19 Airfare booking fee for                  $21.00    $21.00       10.9%      $2.28
               David               flight from Kansas City
                                   home.
Meals          Min, Erik N 4/21/19 Lunch while traveling to                 $10.28    $10.28       14.3%      $1.47
                                   various onsite meetings.
Meals          Min, Erik N 4/21/19 Dinner while traveling to                $26.13    $26.13       14.3%      $3.73
                                   various onsite meetings.
Air Travel     Aberman,    4/22/19 Airfare to Kansas City.                 $201.50   $201.50       10.9%     $21.88
               David
Meals          Aberman,    4/22/19 Breakfast while traveling                 $3.90     $3.90       10.9%      $0.42
               David               to various onsite meetings.

Ground Travel Aberman,      4/22/19 Transportation to the                   $32.82    $32.82       10.9%      $3.56
              David                 airport.
Ground Travel Aberman,      4/22/19 Car rental while traveling              $55.84    $55.84       10.9%      $6.06
              David                 to various onsite meetings.

Meals         Min, Erik N 4/22/19 Lunch while traveling to                  $21.08    $21.08       14.3%      $3.01
                                  various onsite meetings.
Meals         Min, Erik N 4/22/19 Dinner while traveling to                 $20.95    $20.95       14.3%      $2.99
                                  various onsite meetings.
Ground Travel Min, Erik N 4/23/19 Parking while traveling to                $40.00    $40.00       14.3%      $5.71
                                  various onsite meetings.

Meals          Min, Erik N 4/23/19 Lunch while traveling to                 $32.98    $32.98       14.3%      $4.71
                                   various onsite meetings.
Hotels         Min, Erik N 4/23/19 Hotel while traveling to                $379.09   $379.09       14.3%     $54.16
                                   various onsite meetings.
Air Travel     Min, Erik N 4/24/19 Airfare to perform onsite               $362.96   $362.96       14.3%     $51.85
                                   meetings at various
                                   hospitals.
Meals          Min, Erik N 4/24/19 Breakfast while traveling                $21.09    $21.09       14.3%      $3.01
                                   to various onsite meetings.

Air Travel    Min, Erik N 4/24/19 Airfare booking fee for                   $21.00    $21.00       14.3%      $3.00
                                  flight to Kansas City.
Meals         Min, Erik N 4/24/19 Lunch for Erik and David                  $33.00    $33.00       14.3%      $4.71
                                  while traveling to various
                                  onsite meetings.
Meals         Min, Erik N 4/24/19 Dinner while traveling to                 $13.12    $13.12       14.3%      $1.87
                                  various onsite meetings.
Ground Travel Min, Erik N 4/24/19 Car rental fuel while                      $9.20     $9.20       14.3%      $1.31
                                  traveling to various onsite
                                  meetings.




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                                        Expenses Incurred - Forensic Technology

                                                                                            Allocation     Allocated
Category      Name        Date            Narrative          Quantity    Rate     Value     Percentage     Expenses
Ground Travel Min, Erik N 4/24/19 Parking while traveling to               $77.00    $77.00          14.3%    $11.00
                                  various onsite meetings.

Hotels        Min, Erik N 4/24/19 Hotel while traveling to                 $253.26   $253.26        14.3%     $36.18
                                  various onsite meetings.
Ground Travel Min, Erik N 4/24/19 Car rental while traveling               $167.51   $167.51        14.3%     $23.93
                                  to various onsite meetings.

Meals         Aberman,    4/24/19 Dinner while traveling to                 $18.31    $18.31        10.9%      $1.99
              David               various onsite meetings.
Air Travel    Aberman,    4/25/19 Airfare from Kansas City                 $242.82   $242.82        10.9%     $26.36
              David               home.
Technology    Aberman,    4/25/19 Hard drives for data                     $175.98   $175.98        10.9%     $19.11
Equipment     David               storage.
Air Travel    Aberman,    4/29/19 Roundtrip airfare to                     $755.53   $755.53         2.4%     $18.50
              David               perform onsite meetings at
                                  various hospitals.
Air Travel    Min, Erik N 4/29/19 Airfare to perform onsite                $362.96   $362.96         2.5%      $8.96
                                  meetings at various
                                  hospitals.
Air Travel    Aberman,    4/29/19 Airfare booking fee.                      $21.00    $21.00         2.4%      $0.51
              David
Meals         Aberman,    4/29/19 Dinner while traveling to                 $17.62    $17.62         2.4%      $0.43
              David               various onsite meetings.
Meals         Aberman,    4/29/19 Lunch while traveling to                  $12.77    $12.77         2.4%      $0.31
              David               various onsite meetings.
Meals         Min, Erik N 4/29/19 Lunch while traveling to                  $15.86    $15.86         2.5%      $0.39
                                  various onsite meetings.
Hotels        Aberman,    4/30/19 Hotel during stay in                     $131.55   $131.55         2.4%      $3.22
              David               Kansas City.
Meals         Min, Erik N 4/30/19 Breakfast while traveling                 $17.77    $17.77         2.5%      $0.44
                                  to various onsite meetings.

Meals         Aberman,    4/30/19 Lunch while traveling to                  $13.10    $13.10         2.4%      $0.32
              David               various onsite meetings.
Meals         Min, Erik N 4/30/19 Lunch while traveling to                  $17.78    $17.78         2.5%      $0.44
                                  various onsite meetings.
Meals         Min, Erik N 4/30/19 Dinner while traveling to                 $13.10    $13.10         2.5%      $0.32
                                  various onsite meetings.
Meals         Aberman,    4/30/19 Dinner while traveling to                 $12.23    $12.23         2.4%      $0.30
              David               various onsite meetings.
Hotels        Aberman,    5/1/19 Hotel during stay in                      $184.26   $184.26         2.4%      $4.51
              David               Kansas City.
Ground Travel Aberman,    5/1/19 Car rental while traveling                 $94.25    $94.25         2.4%      $2.31
              David               to various onsite meetings.

Ground Travel Aberman,      5/1/19   Taxi home from the                     $46.25    $46.25         2.4%      $1.13
              David                  airport.
Ground Travel Aberman,      5/1/19   Gas for rental car.                    $24.60    $24.60         2.4%      $0.60
              David
Meals         Aberman,      5/1/19   Lunch while traveling to               $19.89    $19.89         2.4%      $0.49
              David                  various onsite meetings.
Ground Travel Min, Erik N   5/1/19   One day car rental while               $53.43    $53.43         2.5%      $1.32
                                     traveling to various onsite
                                     meetings.




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                                        Expenses Incurred - Forensic Technology

                                                                                              Allocation     Allocated
Category      Name        Date               Narrative          Quantity   Rate     Value     Percentage     Expenses
Ground Travel Min, Erik N 5/1/19    Car rental fuel while                    $12.13    $12.13           2.5%     $0.30
                                    traveling to various onsite
                                    meetings.
Ground Travel Min, Erik N 5/1/19    One day car rental while                 $53.42    $53.42          2.5%      $1.32
                                    traveling to various onsite
                                    meetings.
Air Travel    Min, Erik N 5/1/19    Airfare to perform onsite               $362.96   $362.96          2.5%      $8.96
                                    meetings at various
                                    hospitals.
Ground Travel Min, Erik N 5/1/19    Parking while traveling to              $181.48   $181.48          2.5%      $4.48
                                    various onsite meetings.

Ground Travel Min, Erik N 5/1/19    Gas for rental car.                      $12.12    $12.12          2.5%      $0.30
Meals         Min, Erik N 5/1/19    Lunch while traveling to                 $16.22    $16.22          2.5%      $0.40
                                    various onsite meetings.
Hotels        Min, Erik N 5/1/19    Hotel while traveling to                $250.20   $250.20          2.5%      $6.18
                                    various onsite meetings.
Ground Travel Min, Erik N 5/1/19    Parking while traveling to               $29.00    $29.00          2.5%      $0.72
                                    various onsite meetings.

Hotels        Min, Erik N 5/1/19  Hotel while traveling to                  $250.20   $250.20          2.5%      $6.18
                                  various onsite meetings.
Meals         Min, Erik N 5/1/19 Lunch while traveling to                    $16.21    $16.21          2.5%      $0.40
                                  various onsite meetings.
Air Travel    Min, Erik N 5/1/19 Airfare booking fee.                        $21.00    $21.00          2.5%      $0.52
Ground Travel Aberman,    5/9/19 Tolls while traveling to                     $2.20     $2.20         14.3%      $0.31
              David               various onsite meetings.
Air Travel    Aberman,    5/23/19 Airfare booking fee.                       $21.00    $21.00         14.3%      $3.00
              David
Air Travel    Aberman,    5/23/19 Airfare to KC data center.                $438.11   $438.11         14.3%     $62.59
              David
Meals         Aberman,    5/23/19 Meals for the day while                    $48.40    $48.40         14.3%      $6.91
              David               traveling to onsite
                                  meetings.
Meals         Aberman,    5/23/19 Breakfast while traveling                  $11.22    $11.22         14.3%      $1.60
              David               to various onsite meetings.

Ground Travel Aberman,      5/23/19 Taxi home from the                       $36.03    $36.03         14.3%      $5.15
              David                 airport.
Meals         Aberman,      5/24/19 Lunch while traveling to                  $7.25     $7.25         14.3%      $1.04
              David                 KC data center.
Meals         Aberman,      5/24/19 Breakfast while traveling                $22.78    $22.78         14.3%      $3.25
              David                 to KC data center.
Hotels        Aberman,      5/25/19 Hotel while traveling to                $180.94   $180.94         14.3%     $25.85
              David                 KC data center.
Ground Travel Aberman,      5/26/19 Taxi home from the                       $33.20    $33.20         13.8%      $4.57
              David                 airport.
Ground Travel Aberman,      5/26/19 Gas for rental car.                      $50.75    $50.75         13.8%      $6.98
              David
Ground Travel Aberman,      5/26/19 Car rental while traveling              $356.00   $356.00         13.8%     $48.95
              David                 to KC data center.
Hotels        Aberman,      5/27/19 Hotel while traveling to                $187.54   $187.54         13.8%     $25.79
              David                 KC data center.
                                    Total Expenses Incurred                                                   $658.92




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                                             Exhibit C


                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

 IN RE:                                )
                                       )
 CAH ACQUISITION COMPANY #7, LLC d/b/a )                         Case No. 19-01298-5-JNC
 PRAGUE COMMUNITY HOSPITAL,            )
                                       )                         Chapter 11
          Debtor.                      )
                                       )

  BIOGRAPHICAL INFORMATION FOR GRANT THORNTON LLP PROFESSIONALS


          Richard R. (Rob) Vanderbeek is a Managing Director at Grant Thornton LLP. Rob has
 more than 25 years of restructuring, reorganization, performance improvement, due diligence,
 litigation, valuation and forensic experience in a broad range of industries, including energy,
 healthcare, financial services, transportation, manufacturing, mortgage products, real estate,
 retail, hospitality, equipment leasing and distribution. Rob has advised North Oakland Medical
 Center, Brookdale University Hospital & Medical Center and other hospitals regarding strategic
 alternatives and restructuring. Prior to joining Grant Thornton, he was at Goldin Associates, a
 financial advisory boutique where he served as a member of the Management Committee and
 ranked in the Top 25 Crisis Management Professionals in the Deal League Tables for six years.
 Before joining Goldin, he was a Managing Director in the Restructuring & Turnaround practice
 at Huron Consulting Group, and he worked in the restructuring practices of AlixPartners and
 PwC. Earlier in his career, he was a bank examiner at the Federal Reserve Bank of New York for
 several years. Rob is a Certified Insolvency and Restructuring Advisor. Rob holds his BS in
 Finance from Lehigh University; MBA from NYU Stern School of Business and JD from Pace
 School of Law.

         Scott B. Davis is a Partner at Grant Thornton LLP and leads the Transaction Services
 Strategic Solutions practice and has over 30 years of advisory and interim management
 experience. Scott focuses on organizations in transition specifically in the areas of due diligence,
 strategic change, restructuring, performance improvement, business planning, cash flow
 forecasting, and litigation. Scott leads the firm’s distressed health care group and co-leads its
 health care transactions group. He joined Grant Thornton in 2007 after serving as Partner for
 both PricewaterhouseCoopers and KPMG, and as a Senior Managing Director for Mesirow
 Financial Consulting. Scott served as Director of Operations and Dispositions at St. Vincent
 Catholic Medical Center, and has advised numerous healthcare clients including Highmark Inc.,
 Penn Medicine, Jefferson University Hospitals, Casa Grande Regional Medical Center, Wadley
 Regional Medical Center, Howard Regional Healthcare, Oconee Regional Medical Center,
 Morehead Memorial Hospital, Washington County Hospital, et al. and numerous continuing care
 retirement communities. He is a Certified Public Accountant and a Certified Insolvency and




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 Restructuring Advisor. He is also a member of the Turnaround Management Association and
 American Bankruptcy Institute and serves on its Healthcare Committee. Scott regularly speaks
 on restructuring matters, especially in the health care arena at events sponsored by the HFMA,
 ABI, TMA, National Association of Attorneys General and the NC Bar Association.

         Andy Johnson is a Director at Grant Thornton LLP. He has more than 30 years diverse
 financial and accounting experience. He joined Grant Thornton after serving as the Chief
 Financial Officer for several private equity owned businesses. He started his career with PwC
 serving both public and private clients in a number of capacities from audit to financial advisory.
 He started and managed his own consulting firm and for over 10 years he provided outsourced
 and interim CFO services to clients, as well as accounting, financial reporting and consulting
 services. His clients ranged from angel and venture backed startups to a multi-billion dollar
 public companies. His experience crosses many industries, including restaurants, retail,
 distribution, real estate, manufacturing, technology, private equity and venture capital. Andy has
 experience as both a consultant and as a Chief Financial Officer assisting companies with
 strategic and financial planning, budgeting and forecasting, organizational restructuring, and
 mergers and acquisitions. Andy is a Certified Public Accountant (Ohio) and holds a Bachelor of
 Business Administration Degree from Ohio University

         Holly Kelly is a Senior Associate at Grant Thornton LLP. She began her career at Grant
 Thornton four years ago in the Forensic and Investigative Services practice, where she
 specialized in investigations. She took an interest in healthcare, using her accounting knowledge
 to evaluate the legitimacy of an accrual account for a multi-unit hospital system. She went on to
 redesign their financial reconciliation process for inventory accounting, as well as provided as
 report of recommendations for further improvements across the purchasing, accounts payable/
 receivable and accounting departments. Two years into her career, she transitioned into Grant
 Thornton’s bankruptcy and restructuring practice. She has worked in a variety of industries, and
 most recently served as the interim controller for a pet retail company. Holly is a Certified Public
 Accountant in the state of New York, Certified in Financial Forensics (CFF), an active member
 of Turnaround Management Association, and holds a B.S. in Business Administration from
 California Polytechnic State University at San Luis Obispo.

         Casey Balikian is an Associate located in Grant Thornton’s Charlotte, North Carolina,
 office. He prepares research, performs technical analysis, and assists in the administrative
 aspects of valuation and financial consulting projects on the local, national, and international
 levels. Casey has experience with companies in various stages and multiple industries. Casey is
 pursuing the Chartered Financial Analyst (CFA) designation and sat for the Level 3 exam in June
 of 2019. Casey graduated from Wheaton College (IL) in May of 2017 with Bachelor’s Degrees
 in Economics and Biblical Studies.

         Michael Wayne is an Associate at Grant Thornton LLP. He has spent the majority of his
 time with the firm working on bankruptcy and restructuring engagements. He has experience in
 financial modeling for distressed companies and turn-around planning. Additionally, he has
 experiences in pre-acquisition diligence engagements, as well as integration/separation planning.
 He has completed a number of IT and HR diligence engagements, helping clients to determine if
 the technology or human capital resources of their target companies are prudent investments.




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 Additionally, Michael has experience helping clients to plan for an effective integration with an
 acquired company. Prior to joining Grant Thornton, he completed internships with a corporate
 training firm and a crypto-currency start-up. Michael has worked with both public and private
 clients in the financial services and technology sectors. Michael graduated from Indiana
 University with a dual degree in Operations Management and Entrepreneurship & Corporate
 Innovation.

         Harry G. Lee (Johnny) is a Principal in the Forensic Advisory Services practice and the
 National Practice Leader for the Forensic Technology Services practice of Grant Thornton LLP.
 A management and litigation consultant and former attorney, he specializes in forensic
 investigations, data breach response, complex data analytics, computer forensics, and electronic
 discovery in support of investigations and civil litigation. He also provides advisory services to
 organizations working to address complex Cybersecurity, Information Governance, and Data
 Privacy issues. Prior to joining Grant Thornton, Johnny served in various executive roles for
 global consulting firms, and he also served in the District Attorney’s Office in Atlanta, GA. He is
 a frequent speaker, panelist, and author on various topics across involving CyberSecurity,
 Information Privacy, Data Analytics, eDiscovery, Computer Forensics, Information Governance,
 Business Intelligence, and the effective use (and risk management) of Information Technology.
 Johnny holds a J.D. from GSU College of Law and a B.A. from Emory University.

          David Aberman is a Director in the Forensic Advisory Services practice of Grant
 Thornton LLP, and brings more than twenty years of experience in providing a wide range of
 dispute advisory and complex litigation services. He has concentrated his practice primarily
 within the litigation consulting area, specifically in the Digital Forensic Incident Response
 (DFIR) field. His specialization in Digital Forensic Incident Response services includes
 experience in identification, preservation, collection, and analysis of electronically stored
 information for use in legal proceedings. He has led investigations on behalf of Law Firms,
 General Counsel, Corporate Executives, Board of Directors, Audit Committees and various
 Government entities. David’s case types include Foreign Corrupt Practices Act (FCPA)
 compliance and violations, theft of intellectual property, financial statement manipulation,
 whistleblower letters, SEC investigations and insider trading. His experience spans multiple
 industries including advanced technology, education, energy, financial services, healthcare,
 pharmaceutical, real estate, telecommunication and transportation. David is a Certified Fraud
 Examiner (CFE), Certified Computer Crime Investigator (CCCI), Licensed Private Investigator
 (Illinois), and holds a B.S. in Accounting from Sy Syms School of Business

         Erik Min is a Manager in Grant Thornton LLP’s Forensic Advisory Services group
 located in Houston, TX. Erik provides consultation and management services with an expertise
 in matters regarding digital forensics and incident response (DFIR), e-discovery, cyber security,
 compliance and risk. Erik has spent over 15 years working for large and small consulting firms
 using his background and expertise to support complex data management, e-discovery as well as
 DFIR investigations for some of the world's leading corporations and law firms. DFIR
 investigations he has managed include malware exploits and email phishing campaigns that have
 led to the network compromise of IP, PII and PHI. He has consulted with clients on best
 practices during and post incident to mitigate risk. Erik also has experience investigating cases
 involving fraud, embezzlement, theft of trade secrets and intellectual property theft. He has




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 managed and consulted on large scale electronic discovery requests; some of which have
 included hundreds of custodians to interview, identifying terabytes of data for collection. He also
 has experience consulting with clients regarding information security and compliance readiness
 while assessing client risk. Erik holds a B.S. from Virginia Polytechnic State University.

 Lucas Newcomer is an Experienced Manager in Grant Thornton LLP’s Forensic Advisory
 Services group in Houston, TX. He leads electronic discovery and information governance
 engagements, which leverages his legal training and skill in harnessing technological solutions to
 client’s issues. Lucas is an attorney with management experience in complex electronic
 discovery reviews and a strong technical background. He has assisted clients in a range of
 industries solve challenges related to managing and reviewing corporate data. For large
 document reviews he used his expertise to develop process flows to integrate disparate data
 processing tools and review platforms. He advises clients who need to mitigate the risks posed
 by ever-increasing corporate data volumes and harness the value within those assets. Lucas has
 worked in the field of electronic discovery since 2009. On one of the largest environmental
 disaster cases in history, he led the team responsible for creating privilege logs, which logged
 hundreds of thousands of privileged documents. While managing the team, Lucas was
 responsible for overseeing the quality assurance review process and delivering high-quality
 privilege logs tailored to outside counsel’s requirements. Lucas holds a B.S. from the University
 of Houston and a J.D. from The University of Texas School of Law.




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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                               GREENVILLE DIVISION

 IN RE:                                )
                                       )
 CAH ACQUISITION COMPANY #7, LLC d/b/a )                         Case No. 19-01298-5-JNC
 PRAGUE COMMUNITY HOSPITAL,            )
                                       )                         Chapter 11
          Debtor.                      )
                                       )

           NOTICE OF INITIAL APPLICATION BY GRANT THORNTON LLP
                          AS FINANCIAL CONSULTANT
                FOR THE TRUSTEE FOR ALLOWANCE OF INTERIM
              COMPENSATION AND REIMBURSEMENT OF EXPENSES
                    [MARCH 21, 2019 THROUGH MAY 31, 2019]

        NOTICE IS HEREBY GIVEN that Grant Thornton LLP (the “Trustee’s Financial

 Consultant”), has filed its Initial Application by Grant Thornton LLP as Financial Consultant for

 the Trustee for Allowance of Interim Compensation and Reimbursement of Expenses [March 21,

 2019 through May 31, 2019] (the “Initial Application”);

        FURTHER NOTICE IS HEREBY GIVEN that Trustee’s Financial Consultant has

 applied for compensation in the amount of $67,973.95 for fees and $2,913.74 for reimbursement

 of expenses, for a total of $70,887.69 for the period of March 21, 2019 through May 31, 2019;

        FURTHER NOTICE IS HEREBY GIVEN that the Initial Application filed by

 Trustee’s Financial Consultant may be allowed provided no responses and request for a hearing

 is made by a party-in-interest in writing to the Clerk of this Court within TWENTY-ONE (21)

 DAYS from the date of this notice; and

        FURTHER NOTICE IS HEREBY GIVEN, that if a response and a request for a

 hearing is filed by a party-in-interest in writing within the time indicated, a hearing will be

 conducted on this Initial Application thereto at a date, time, and place to be later set by the Court




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 and all interested parties will be notified accordingly. If no request for a hearing is timely filed,

 the Court may rule on the Initial Application thereto ex parte without further notice.

        Respectfully submitted, this the 22nd of July, 2019.

                                        GRANT THORNTON LLP

                                        /s/ Richard R. (Rob) Vanderbeek
                                        Richard R. (Rob) Vanderbeek
                                        Managing Director
                                        Grant Thornton, LLP
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                                        New York, NY 10017
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                                        Email: rob.vanderbeek@us.gt.com

                                        Financial Consultant for the Trustee




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